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                            NOTICE TO THE UNITED STATES
                     JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
                       OF MULTICIRCUIT PETITIONS FOR REVIEW


        In Re: Federal Energy Regulatory Commission,        )
        Building for the Future Through Electric Regional   )
        Transmission Planning and Cost Allocation,          )
        187 FERC ¶ 61,068 (May 13, 2024); Notice of         )      MCP No. ________
        Denial of Rehearing by Operation of Law and         )
        Providing For Further Consideration,                )
        188 FERC ¶ 62,025 (July 15, 2024)                   )


                     NOTICE OF MULTICIRCUIT PETITIONS FOR REVIEW

               Pursuant to 28 U.S.C. § 2112(a)(3) and the Rules of Procedure of the Judicial

        Panel on Multidistrict Litigation, the Federal Energy Regulatory Commission

        (“FERC” or the “Commission”) notifies the Judicial Panel that it has received

        multiple petitions for review—filed in and date-stamped by nine different courts of

        appeals—of a Commission order issued in Building for the Future Through Electric

        Regional Transmission Planning and Cost Allocation, FERC Docket No. RM21-17,

        Order No. 1920—Final Rule, 187 FERC ¶ 61,068 (issued May 13, 2024) (“Order

        1920”). The petitions for review also note the Commission’s subsequent Notice of

        Denial of Rehearing by Operation of Law and Providing for Further Consideration,

        188 FERC ¶ 62,025 (issued July 15, 2024 in the same agency docket) (“Denial

        Notice”).1



               1 The Denial Notice states that the Commission intends to issue another

        order on requests for rehearing of Order 1920: “As provided in 16 U.S.C. § 825l(a),
        the requests for rehearing of the above-cited order filed in this proceeding will be
        addressed in a future order to be issued consistent with the requirements of such
        section.” In light of the still-pending agency proceeding and the possibility of new
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               As required by Panel Rule 25.2, the Commission submits with this Notice:

        (1) a schedule listing petitions for review filed in the circuit courts of appeals within

        ten days after the expiration of the thirty-day period for agency action on

        applications for agency rehearing, and received by the Commission within that time

        period (Attachment A), and (2) copies of each petition (Attachment B).

               Pursuant to 28 U.S.C. § 2112(a)(1)–(3) and Panel Rule 25.2(c), this Notice

        exclusively embraces court-stamped petitions for review filed in the courts of

        appeals within the ten-day period following the expiration of the thirty-day period

        for agency action on applications for agency rehearing, and received by the

        Commission within that same period. See In re FERC (Gas Transmission

        Northwest LLC), MCP No. 175, 2024 WL 1596933, at *3 (J.P.M.L. Apr. 11, 2024)

        (“Section 2112(a)’s ten-day countdown beg[ins] when, by operation of law, the thirty-

        day period [for FERC to act on rehearing applications] expired, not when FERC

        subsequently notified the parties of this event.”); 16 U.S.C. § 825l(a) (setting forth

        time period for applications for rehearing and agency action).

               The Commission issued Order 1920 on May 13, 2024. Under Federal Power

        Act section 313, 16 U.S.C. § 825l(a), the deadline for filing requests for agency

        rehearing was June 12, 2024. (All petitioners encompassed by this Notice filed

        requests for rehearing on the due date, June 12, 2024.) Because the Commission

        did not “act” on the applications for rehearing within thirty days of filing (i.e., by



        petitions for review of that future order, the Commission notes that the parties may
        seek to file motions as appropriate with the designated court of appeals after this
        Panel makes its random selection under 28 U.S.C. § 2112(a).
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        July 12, 2024), they were deemed denied. See 16 U.S.C. § 825l(a). Accordingly, the

        statutory ten-day period under 28 U.S.C. § 2112(a) concluded on Monday, July 22,

        2024. See Gas Transmission Northwest LLC, MCP No. 175, 2024 WL 1596933, at

        *3–4 (citing Fed. R. App. P 26(a)). The Commission has confirmed that all petitions

        for review included in this Notice are date-stamped by the relevant court of appeals,

        consistent with In re FERC (Atlantic Coast Pipeline, LLC), 341 F. Supp. 3d 1378,

        1380 (J.P.M.L. 2018).

               In accordance with Panel Rule 25.3, as indicated in the attached certificate of

        service, the Commission is filing and serving this Notice on the clerks of the courts

        of appeals where petitions for review have been filed, along with counsel for all

        parties in these petitions for review.



                                                      Respectfully Submitted,


                                                      Robert H. Solomon
                                                      Solicitor

                                                      /s/ Susanna Y. Chu
                                                      Susanna Y. Chu
                                                      Attorney


        Federal Energy Regulatory
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        August 2, 2024
USCA4 Appeal: 24-1650   Doc:MCP
               Case Pending  14 No. 20Filed: 08/02/2024
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                               ATTACHMENT 1
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                                            Rule 25.2 Schedule

          Issuance Date of FERC Order and Denial Notice: May 13, 2024 and July 15, 2024


         Case Name           Circuit           Docket        Filing Date     Date
                             Court             Number                        Received by
                                                                             FERC
                                                                             (earlier of
                                                                             date of filing
                                                                             on FERC’s
                                                                             eLibrary
                                                                             docket or
                                                                             date of
                                                                             receipt of
                                                                             paper copy)

         Advanced            D.C. Circuit      24-1254       July 18, 2024   July 19, 2024
         Energy United,
         et al. v. FERC

         Invenergy Solar D.C. Circuit          24-1255       July 19, 2024   July 22, 2024
         Development
         North America
         LLC, et al. v.
         FERC

         Environmental First Circuit           24-1659       July 16, 2024   July 18, 2024
         Defense Fund v.
         FERC

         Natural         Second                24-1932       July 16, 2024   July 19, 2024
         Resources       Circuit
         Defense Council
         v. FERC

         Appalachian         Fourth Circuit 24-1650          July 16, 2024   July 18, 2024
         Voices, et al. v.
         FERC
USCA4 Appeal: 24-1650   Doc:MCP
               Case Pending  14 No. 20Filed: 08/02/2024
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         Louisiana         Fifth Circuit   24-60355        July 15, 2024   July 18, 2024
         Public Service
         Commission
         and Mississippi
         Public Service
         Commission v.
         FERC

         State of Texas    Fifth Circuit   24-60362        July 18, 2024   July 22, 2024
         v. FERC

         Public Utilities Sixth Circuit    24-3615         July 18, 2024   July 19, 2024
         Commission of
         Ohio’s Office of
         the Federal
         Energy
         Advocate and
         Public Service
         Commission of
         West Virginia v.
         FERC

         ITC Midwest       Seventh         24-2232         July 19, 2024   July 22, 2024
         LLC v. FERC       Circuit

         Sierra Club v.    Ninth Circuit   24-4388         July 17, 2024   July 19, 2024
         FERC

         State of          Eleventh        24-12310        July 18, 2024   July 19, 2024
         Georgia and       Circuit
         Georgia Public
         Service
         Commission v.
         FERC
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                               ATTACHMENT 2
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                                        PROOF OF SERVICE

               In accordance with Rule 25.3 of the Judicial Panel on Multidistrict Litigation

         and Federal Rule of Appellate Procedure 25(a), I certify that, on this 2nd day of

         August, 2024, a copy of the foregoing was served electronically, in accordance with

         the applicable ECF procedures of the following courts:

               Mark J. Langer
               Clerk of the Court
               U.S. Court of Appeals for the D.C. Circuit
               E. Barrett Prettyman U.S. Courthouse
               333 Constitution Ave., NW
               Room 5423
               Washington, DC 20001

               Maria R. Hamilton
               Clerk of the Court
               U.S. Court of Appeals for the First Circuit
               John Joseph Moakley U.S. Courthouse
               1 Courthouse Way, Suite 2500
               Boston, MA 02210

               Catherine O’Hagan Wolfe
               Clerk of the Court
               U.S. Court of Appeals for the Second Circuit
               Thurgood Marshall U.S. Courthouse
               40 Foley Square
               New York, NY 10007

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               Clerk of the Court
               U.S. Court of Appeals for the Fourth Circuit
               Lewis F. Powell, Jr. U.S. Courthouse Annex
               1100 East Main Street, Suite 501
               Richmond, VA 23219-3517
USCA4 Appeal: 24-1650   Doc:
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               Lyle W. Cayce
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               F. Edward Hebert Building
               600 S. Maestri Place
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               540 Potter Stewart U.S. Courthouse
               100 E. Fifth Street
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               U.S. Court of Appeals for the Seventh Circuit
               Everett McKinley Dirksen U.S. Courthouse
               219 S. Dearborn Street
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               Copies of the foregoing notice were also served on the following counsel via

         the electronic filings systems of the U.S. Court of Appeals for the District of

         Columbia Circuit and the U.S. Courts of Appeals for the First, Second, Fourth,

         Fifth, Sixth, Seventh, Ninth, and Eleventh Circuits:
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                               ATTACHMENT 3
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                              D.C. Circuit 24-1254
USCA4      Appeal: 24-1650
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                                                               General Docket
                                        United States Court of Appeals for District of Columbia Circuit

  Court of Appeals Docket #: 24-1254                                                                            Docketed: 07/18/2024
  Advanced Energy United, et al v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Fee Paid

  Case Type Information:
    1) Petition for Review
    2) Review
    3)

  Originating Court Information:
     District: FERC-1 : FERC-RM21-17-000

  Prior Cases:
     None

  Current Cases:
                        Lead                   Member            Start               End
      Consolidation
                        24-1254                24-1255           07/22/2024

  Panel Assignment:         Not available



  Advanced Energy United                                                 Jeremy C. McDiarmid
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                                                                         Washington, DC 20005

                                                                         Benjamin Norris, IV
                                                                         Direct: 518-421-3260
                                                                         Email: bnorris@seia.org
                                                                         [COR NTC Retained]
                                                                         Solar Energy Industries Association
                                                                         1425 K Street, NW
                                                                         Suite 1000
                                                                         Washington, DC 20005
                v.

  Federal Energy Regulatory Commission
                          Respondent




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  Advanced Energy United; American Clean Power Association; Solar Energy Industries Association,

                               Petitioners

                v.

  Federal Energy Regulatory Commission,

                               Respondent




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8/1/24, 3:23 PM
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   07/18/2024                       PETITION FOR REVIEW CASE docketed. [24-1254] [Entered: 07/19/2024 01:02 PM]

   07/18/2024                       PETITION FOR REVIEW [2065574] of a decision by federal agency filed by Advanced Energy United,
                 1474 pg, 7.08 MB   American Clean Power Association and Solar Energy Industries Association [Service Date: 07/18/2024 ]
                                    Disclosure Statement: Attached. [24-1254] [Entered: 07/19/2024 01:04 PM]
   07/19/2024                       CERTIFIED COPY [2065576] of Petition for Review sent to respondent [2065574-2] [24-1254] [Entered:
                 1 pg, 38.31 KB     07/19/2024 01:05 PM]
   07/22/2024                       CLERK'S ORDER [2065735] filed consolidating cases 24-1255 (Consolidation started 07/22/2024) with 24-
                 1 pg, 39.23 KB     1254; directing party to file in 24-1255 initial submissions: PETITIONER docketing statement due
                                    08/21/2024. PETITIONER statement of issues due 08/21/2024 [24-1254, 24-1255] [Entered: 07/22/2024
                                    12:19 PM]
   07/22/2024                       CLERK'S ORDER [2065767] filed directing party to file initial submissions: PETITIONER docketing
                 2 pg, 43.78 KB     statement due 08/21/2024. PETITIONER certificate as to parties due 08/21/2024. PETITIONER statement
                                    of issues due 08/21/2024. PETITIONER underlying decision due 08/21/2024. PETITIONER deferred
                                    appendix statement due 08/21/2024. PETITIONER procedural motions due 08/21/2024. PETITIONER
                                    dispositive motions due 09/05/2024; directing party to file initial submissions: RESPONDENT entry of
                                    appearance due 08/21/2024. RESPONDENT procedural motions due 08/21/2024. RESPONDENT certified
                                    index to record due 09/05/2024. RESPONDENT dispositive motions due 09/05/2024 [24-1254] [Entered:
                                    07/22/2024 02:08 PM]




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USCA4 Appeal: 24-1650
                Case  Doc: 14     Filed: 08/02/2024    Pg: 23 of 122 Page 6 of 8
Document Accession #:Pending MCP No. 20 Filed
                      20240719-5231     Document  1-4
                                              Date:    Filed 08/02/24
                                                    07/19/2024
      USCA Case #24-1254   Document #2065574        Filed: 07/18/2024    Page 1 of 1474




                        IN THE UNITED STATES COURT OF APPEALS
                        FOR THE DISTRICT OF COLUMBIA CIRCUIT


         Advanced Energy United,
         American Clean Power
         Association, Solar Energy
         Industries Association
                                 Petitioners,
                                                        No. 24- 1254
                  v.

          FEDERAL ENERGY
          REGULATORY COMMISSION,

                                  Respondent.


                                       PETITION FOR
                                         REVIEW

               Pursuant to section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b),

         and Federal Rule of Appellate Procedure 15(a), and Circuit Rule 15, Advanced

         Energy United (“United”), the American Clean Power Association (“ACP”), and

         the Solar Energy Industries Association (“SEIA”) (collectively “Petitioners”)

         petition this Court for review of two orders issued by the Federal Energy

         Regulatory Commission (“FERC”) in FERC Docket No. RM21-17. FERC issued

         the first order on May 13, 2024. See Building for the Future Through Electric

         Regional Transmission Planning & Cost Allocation, 187 FERC ¶ 61,068 (2024)

         (“Order No. 1920”). (Attachment A). Petitioners timely sought rehearing of Order

         No. 1920 on June 13, 2024.
USCA4 Appeal: 24-1650
                Case  Doc: 14     Filed: 08/02/2024    Pg: 24 of 122 Page 7 of 8
Document Accession #:Pending MCP No. 20 Filed
                      20240719-5231     Document  1-4
                                              Date:    Filed 08/02/24
                                                    07/19/2024
      USCA Case #24-1254   Document #2065574        Filed: 07/18/2024    Page 2 of 1474



                  FERC issued the second order on July 15, 2024. See Building for the Future

         Through Electric Regional Transmission Planning & Cost Allocation, Notice of

         Denial of Rehearing by Operation of Law and Providing for Further

         Consideration, 188 FERC ¶ 62,025 (2024) (“Rehearing Denial Notice”)

         (Attachment B). In the Rehearing Denial Notice, the Commission stated it would

         address the requests for rehearing of the above-cited order filed in this proceeding

         will be addressed in a future order, consistent with the requirements of 16 U.S.C.

         § 825l(a). However, pursuant to 16 U.S.C. § 825l(a), “[u]nless the Commission

         acts upon the application for rehearing within thirty days after it is filed, such

         application may be deemed to have been denied.” The Commission did not issue

         a substantive order by the thirty-day deadline (July 15, 2024); therefore,

         Petitioners’ request for rehearing is deemed denied and is ripe for review by this

         Court.
USCA4 Appeal: 24-1650
                Case  Doc: 14     Filed: 08/02/2024    Pg: 25 of 122 Page 8 of 8
Document Accession #:Pending MCP No. 20 Filed
                      20240719-5231     Document  1-4
                                              Date:    Filed 08/02/24
                                                    07/19/2024
      USCA Case #24-1254   Document #2065574        Filed: 07/18/2024    Page 3 of 1474



               Respectfully submitted,

          Gabriel Tabak                           Ben Norris
          Senior Counsel                          Senior Director of Regulatory Affairs
          American Clean Power                    and Counsel
          Association                             Melissa Alfano
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USCA4 Appeal: 24-1650   Doc:
              Case Pending   14 No. 20Filed:
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                             D.C. Circuit 24-1255
USCA4      Appeal: 24-1650
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                                                                   Pg: 27 of 122
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                                                               General Docket
                                        United States Court of Appeals for District of Columbia Circuit

  Court of Appeals Docket #: 24-1255                                                                                 Docketed: 07/19/2024
  Invenergy Solar Development North America LLC, et al v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Fee Paid

  Case Type Information:
    1) Petition for Review
    2) Review
    3)

  Originating Court Information:
     District: FERC-1 : FERC-RM21-17-000
      District: FERC-1 : FERC-RM21-17-001

  Prior Cases:
     None

  Current Cases:
                        Lead                   Member            Start               End
      Consolidation
                        24-1254                24-1255           07/22/2024

  Panel Assignment:         Not available



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                                                                         Email: wscherman@velaw.com
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USCA4      Appeal: 24-1650
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                   Case Pending   14 No. 20Filed:
                                MCP               08/02/2024
                                             Document   1-5 Filed
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                                                                Docket 08/02/24 Page 3 of 10
                                                             Fax: 202-639-6604
                                                             [COR NTC Retained]
                                                             Vinson & Elkins LLP
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                                                             2200 Pennsylvania Avenue, NW
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                                                             Washington, DC 20037-1701

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                          Petitioner                         Direct: 212-237-0082
                                                             [COR NTC Retained]
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                                                             [COR NTC Retained]
                                                             (see above)

                                                             Jeremy C. Marwell
                                                             [COR NTC Retained]
                                                             (see above)

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                                                             [COR NTC Retained]
                                                             (see above)

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  Invenergy Wind Development North America LLC               Jeffrey Martin Jakubiak, Esquire
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                                                             [COR NTC Retained]
                                                             (see above)

                                                             Jeremy C. Marwell
                                                             [COR NTC Retained]
                                                             (see above)

                                                             Garrett Meisman
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                                                             (see above)

                                                             William Scott Scherman, Esquire, Attorney
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                                                             [COR NTC Retained]
                                                             (see above)

                                                             Holly Rachel Smith, Assistant General Counsel

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                                MCP               08/02/2024
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                                                                   Pg: 29 of 122
                                                                Docket 08/02/24 Page 4 of 10
                                                             Direct: 540-364-0150
                                                             [COR NTC Retained]
                                                             (see above)

  Invenergy Transmission LLC                                 Jeffrey Martin Jakubiak, Esquire
                          Petitioner                         Direct: 212-237-0082
                                                             [COR NTC Retained]
                                                             (see above)

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                                                             [COR NTC Retained]
                                                             (see above)

                                                             Jeremy C. Marwell
                                                             [COR NTC Retained]
                                                             (see above)

                                                             Garrett Meisman
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                                                             [COR NTC Retained]
                                                             (see above)

                                                             William Scott Scherman, Esquire, Attorney
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                                                             [COR NTC Retained]
                                                             (see above)

                                                             Holly Rachel Smith, Assistant General Counsel
                                                             Direct: 540-364-0150
                                                             [COR NTC Retained]
                                                             (see above)
                v.

  Federal Energy Regulatory Commission
                          Respondent




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  Invenergy Solar Development North America LLC; Invenergy Thermal Development LLC; Invenergy Wind Development North America
  LLC; Invenergy Transmission LLC,

                               Petitioners

                v.

  Federal Energy Regulatory Commission,

                               Respondent




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USCA4      Appeal: 24-1650
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   07/19/2024                      PETITION FOR REVIEW CASE docketed. [24-1255] [Entered: 07/22/2024 11:20 AM]

   07/22/2024                      PETITION FOR REVIEW [2065720] of a decision by federal agency filed by Invenergy Solar Development
                 1485 pg, 5.2 MB   North America LLC, Invenergy Thermal Development LLC, Invenergy Transmission LLC and Invenergy
                                   Wind Development North America LLC [Service Date: 07/19/2024 ] Disclosure Statement: Attached. [24-
                                   1255] [Entered: 07/22/2024 11:42 AM]
   07/22/2024                      CERTIFIED COPY [2065722] of Petition for Review sent to respondent [2065720-2] [24-1255] [Entered:
                 1 pg, 38.22 KB    07/22/2024 11:43 AM]

   07/22/2024                      CLERK'S ORDER [2065735] filed consolidating cases 24-1255 (Consolidation started 07/22/2024) with 24-
                 1 pg, 39.23 KB    1254; directing party to file in 24-1255 initial submissions: PETITIONER docketing statement due
                                   08/21/2024. PETITIONER statement of issues due 08/21/2024 [24-1254, 24-1255] [Entered: 07/22/2024
                                   12:19 PM]




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USCA4      Appeal: 24-1650
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                              PACER Login:             us2794ogc                Client Code:
                              Description:             Docket Report (full)     Search Criteria:   24-1255
                              Billable Pages:          2                        Cost:              0.20




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USCA4 Appeal: 24-1650      Doc: 14
               Case#:Pending MCP No. 20    Filed: 08/02/2024
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                                                             Filed   33 of 122Page 8 of 10
Document Accession    20240722-0001          Filed Date:




                          IN THE UNITED STATES COURT OF APPEALS
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                                                             UNITED STATEStOlm OF APPEALS
                                                                            FOR DISTRICT OF COLUMIM CIRCITT
            INVENERGY SOLAR
            DEVELOPMENT                                                            JUL 19 202\
            NORTH AMERICA LLC;
            INVENERGY THERMAL                                                 RECEIVED
            DEVELOPMENTLLC;INVENERGY
            WIND DEVELOPMENT NORTH                                             UNITED STAltS COURT OF APPEALS
            AMERICA LLC; and INVENERGY                                         FOR DISTRICT OF COLUMBIA CIRCUIT
            TRANSMISSION LLC,                                                 CLEHK   JUL 19 202~ t
                                      Petitioners,                                     FILED
                   v.                                       No. 24-1255


            FEDERAL ENERGY
            REGULATORY COMMISSION,

                                      Respondent.



                                      PETITION FOR REVIEW

                  Pursuant to Section 313(b) of the Federal Power Act, 16 U .S.C. § 825/(b),

           Federal Rule of Appellate Procedure 15, and Circuit Rule 15, Invenergy Solar

           Development North America LLC, Invenergy Thermal Development LLC,

            Invenergy Wind Development North America LLC, and Invenergy Transmission

            LLC (collectively, "Invenergy") hereby petition for review of the following orders

            of Respondent the Federal Energy Regulatory Commission ("Commission"):




                                                     1
USCA4 Appeal: 24-1650      Doc: 14
               Case#:Pending MCP No. 20    Filed: 08/02/2024
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                  I. Building/or the Future Through Electric Regional Transmission Planning

                     and Cost Allocation, Docket No. RM21-17-000, 187 FERC 161,068 (May

                     13, 2024) ("Order No. 1920") (attached as Exhibit A); and

                  2. Building/or the Future Through Electric Regional Transmission Planning

                     and Cost Allocation, "Notice Of Denial of Rehearing by Operation of Law

                     and Providing for Further Consideration," Docket No. RM21-17-001, 188

                     FERC ,r 62,025 (July 15, 2024) (attached as Exhibit B).

                  Invenergy participated in the Commission proceedings below and timely filed

            a request for rehearing of Order No. 1920. As explained in the Commission's Notice

            of Denial of Rehearing, that rehearing request may be deemed denied by operation

            of law because the Commission did not act upon it within 30 days. See 16 U.S.C.

            § 825/(a); 18 C.F.R. § 385.713(f);AlleghenyDef Projectv. FERC, 964 F.3d 1, 18-

            19 (D.C. Cir. 2020). Therefore, Invenergy may file this petition for review under 16

           U.S.C. § 825l(b). This Court has jurisdiction, and venue in this Court is proper,

            under 16 U.S.C. § 825/(b).




                                                     2
USCA4 Appeal: 24-1650
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                                                      1-5 07/22/2024 35 of 122Page 10 of 10
                                                                  08/02/24
Document Accession    20240722-0001        Filed Date:




              Date: July 19, 2024                       Respectfully submitted,

                                                        Isl Jeremy C. Ma11vell

             Holly Rachel Smith                         William S. Scherman
             Deputy General Counsel - Regulatory        Jeremy C. Marwell
             Invenergy LLC                              Jeffrey M. Jakubiak
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           Counsel for Invenergy Solar Development North America LLC, Invenergy Thermal
              Development LLC, lnvenergy Wind Development North America LLC, and
                                     Jnvenergy Transmission LLC




                                                   3
USCA4 Appeal: 24-1650   Doc:MCP
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                               1st Circuit 24-1659
USCA4      Appeal: 24-1650
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                    Case Pending  14 No. 20Filed: 08/02/2024
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                                                        24-1659
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                                                                    General Docket
                                                   United States Court of Appeals for the First Circuit

  Court of Appeals Docket #: 24-1659                                                                                Docketed: 07/16/2024
  Environmental Defense Fund v. FERC
  Appeal From: Federal Energy Regulatory Commission (FERC)
  Fee Status: filing fee paid

  Case Type Information:
    1) agency
    2) review
    3) review

  Originating Court Information:
     District: FERC-1 : RM21-17-000
     Date Filed: 07/16/2024
     Date Decided:                                                         Date Rec'd COA:
     05/13/2024                                                            07/16/2024
       District: FERC-1 : RM21-17-001
       Date Filed: 07/16/2024
       Date Decided:                                                       Date Rec'd COA:
       07/15/2024                                                          07/16/2024

  Prior Cases:
     09-1023 Date Filed: 01/07/2009                Date Disposed: 04/21/2010     Disposition: 42b
     09-1410 Date Filed: 04/01/2009                Date Disposed: 04/21/2010     Disposition: 42b
     09-1772 Date Filed: 06/03/2009                Date Disposed: 04/21/2010     Disposition: 42b

  Current Cases:
    None

  Panel Assignment:                Not available



  ENVIRONMENTAL DEFENSE FUND                                                 Ted Kelly
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                                                                             Washington, DC 20004

                                                                             Adam Kurland
                                                                             [NTC Retained]
                                                                             Environmental Defense Fund
                                                                             555 12th St NW
                                                                             Ste 400
                                                                             Washington, DC 20004
  v.

  FEDERAL ENERGY REGULATORY COMMISSION                                       Kimberly D. Bose
  Respondent                                                                 Direct: 202-502-6088
                                                                             [NTC Federal Government]
                                                                             Federal Energy Regulatory Commission
                                                                             888 1st St, NE
                                                                             Washington, DC 20426-0000
  ------------------------------

  HARVARD ELECTRICITY LAW INITIATIVE
  Interested Party

  APPALACHIAN VOICES                                                         Nicholas Guidi
  Interested Party                                                           [NTC Retained]
                                                                             Environment & Energy Publishing
                                                                             122 C St NW


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USCA4      Appeal: 24-1650
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                                                                   Pg: 38 of 122
                                                                Docket 08/02/24 Page 3 of 7
                                                            Ste 722
                                                            Washington, DC 20001

  NEXTERA ENERGY INC.
  Interested Party

  ENERGY ALABAMA                                            Nicholas Guidi
  Interested Party                                          [NTC Retained]
                                                            (see above)

  NORTH CAROLINA SUSTAINABLE ENERGY ASSOCIATION             Nicholas Guidi
  Interested Party                                          [NTC Retained]
                                                            (see above)

  SOUTH CAROLINA COASTAL CONSERVATION LEAGUE                Nicholas Guidi
  Interested Party                                          [NTC Retained]
                                                            (see above)

  SOUTHERN ALLIANCE FOR CLEAN ENERGY                        Nicholas Guidi
  Interested Party                                          [NTC Retained]
                                                            (see above)

  SIERRA CLUB                                               Justin Vickers
  Interested Party                                          [NTC Retained]
                                                            Suite 1300
                                                            2101 Webster St
                                                            Oakland, CA 94612

  SOUTHERN RENEWABLE ENERGY ASSOCIATION                     Nicholas Guidi
  Interested Party                                          [NTC Retained]
                                                            (see above)

  SUSTAINABLE FERC PROJECT                                  John Moore
  Interested Party                                          [NTC Noticing]
                                                            Suite 300
                                                            1125 15th St NW
                                                            Washington, DC 20005




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USCA4      Appeal: 24-1650
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  ENVIRONMENTAL DEFENSE FUND,

  Petitioner,

  v.

  FEDERAL ENERGY REGULATORY COMMISSION,

  Respondent.




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                                                        24-1659
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   07/16/2024                       AGENCY CASE docketed. Petition for review filed by Petitioner Environmental Defense Fund. Appearance
                 1557 pg, 6.9 MB    form due 07/31/2024. Administrative record due 08/26/2024. Copy of petition served on respondent(s)
                                    pursuant to FRAP 15(c). [24-1659] (GRC) [Entered: 07/17/2024 05:40 PM]
   07/16/2024                       DISCLOSURE statement filed by Petitioner Environmental Defense Fund. [24-1659] (GRC) [Entered:
                 1 pg, 89.98 KB     07/17/2024 06:03 PM]

   07/16/2024                       Filing fee was paid by Petitioner Environmental Defense Fund. Receipt number: A01-39988-105. [24-1659]
                                    (GRC) [Entered: 07/18/2024 08:37 AM]
   07/24/2024                       AGENCY CASE docketed*. Petition for review filed by Petitioner Environmental Defense Fund.
                 1557 pg, 7.11 MB   Appearance form due 08/07/2024. Administrative record due 09/03/2024. Copy of petition served on
                                    respondent(s) pursuant to FRAP 15(c).*Amended Case Opening Notice issued to update administrative
                                    record deadline and to include service to respondent. [24-1659] (GRC) [Entered: 07/24/2024 03:30 PM]




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USCA4      Appeal: 24-1650
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                                                                Transaction Receipt
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                              PACER Login:             us2794ogc                Client Code:
                              Description:             Docket Report (full)     Search Criteria:   24-1659
                              Billable Pages:          1                        Cost:              0.10




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USCA4  Appeal: MCP
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                    No. 20 Doc: 14
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USCA4 Appeal: 24-1650   Doc:MCP
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                                         Document          Pg:08/02/24
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                              2nd Circuit 24-1932
USCA4      Appeal: 24-1650
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                    Case Pending  14 No. 20Filed: 08/02/2024
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                                                        ACMS  Filed  44 of 122 Page 2 of 7

                                                           ACMS Docket Report
                                            United States Court of Appeals for the Second Circuit

      Court of Appeals Docket #: 24-1932                                                              Docketed: 07/17/2024
      Natural Resources Defense Council, Inc. v. United States Federal Energy Regulatory Commission
      Appeal From: Federal Energy Regulatory Commission
      Fee Status: Paid

     Case Type Information:
       1) Agency
       2) Non-Immigration Petition for Review
       3)

     Originating Court Information:
        Agency: FERC : RM21-17-000
        Date Rec'd COA: 07/16/2024
        Date Order/Judgment: 05/13/2024

     Prior Cases:

     Current Cases:

     NATURAL RESOURCES DEFENSE COUNCIL, INC.                                  Danielle Fidler, -
       Petitioner                                                             Direct: 202-285-0926
                                                                              [Retained]
                                                                              Earthjustice
                                                                              48 Wall Street
                                                                              15th Floor
                                                                              New York, NY 10005


     UNITED STATES FEDERAL ENERGY REGULATORY COMMISSION Benjamin H. Torrance, Assistant U.S. Attorney
       Respondent                                       [US Attorney]
                                                        United States Attorney's Office for the Southern District of New Yor
                                                        86 Chambers Street
                                                        New York, NY 10007




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USCA4      Appeal: 24-1650
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                    Case Pending  14 No. 20Filed: 08/02/2024
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                                                        ACMS  Filed  45 of 122 Page 3 of 7
     Natural Resources Defense Council, Inc.,

                  Petitioner,

       v.

     United States Federal Energy Regulatory Commission,

                  Respondent.




https://ca2-showdoc.azurewebsites.us/full-docket/88834c82-be43-ef11-a296-001dd804fa85        2/3
USCA4      Appeal: 24-1650
8/1/24, 3:18 PM
                             Doc:MCP
                    Case Pending  14 No. 20Filed: 08/02/2024
                                              Document           Pg:08/02/24
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                                                        ACMS  Filed  46 of 122 Page 4 of 7

     07/16/2024         1              PETITION FOR REVIEW OF AGENCY ORDER, on behalf of Petitioner National Resources Defense
                   1619 pg. 12964 KB   Council, Inc., FILED. [Entered: 07/17/2024 04:23 PM]

     07/17/2024         2              PETITION FOR REVIEW OF AGENCY ORDER, on behalf of Petitioner National Resources Defense
                   2984 pg. 24431 KB   Council, Inc., received on 07/17/24, OPENED. [Entered: 07/17/2024 04:51 PM]

     07/17/2024 3                      PAYMENT OF DOCKETING FEE, on behalf of Petitioner National Resources Defense Council, Inc.,
                                       USCA receipt # A02-3231-ACMS, FILED. [Entered: 07/17/2024 04:53 PM]
     07/17/2024         4              PETITION FOR REVIEW OF AGENCY ORDER, SERVED. [Entered: 07/17/2024 04:59 PM]
                   2983 pg. 24398 KB


     07/17/2024         5              AGENCY DECISION AND ORDER dated 05/13/2024, RECEIVED. [Entered: 07/17/2024 05:23 PM]
                   1363 pg. 7805 KB


     07/30/2024 6                      FORM C-A, on behalf of Petitioner National Resources Defense Council, Inc., FILED. Service date
                                       07/30/2024 by ACMS. [Entered: 07/30/2024 09:28 PM]
     07/31/2024 7                      ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Petitioner National Resources
                                       Defense Council, Inc., FILED. Service date 07/31/2024 by ACMS. [Entered: 07/31/2024 04:06 PM]
     07/31/2024         8              DEFECTIVE DOCUMENT, Form C-A, at docket entry 6, on behalf of Petitioner Natural Resources
                   2 pg. 236 KB        Defense Council, Inc., FILED. [Entered: 07/31/2024 04:54 PM]

     07/31/2024         9              DEFECTIVE DOCUMENT, Acknowledgment Notice of Appearance Form, at docket entry 7, on behalf of
                   2 pg. 235 KB        Petitioner Natural Resources Defense Council, Inc., FILED. [Entered: 07/31/2024 04:58 PM]

     07/31/2024         10             ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Petitioner Natural Resources
                   1 pg. 1113 KB       Defense Council, Inc., FILED. Service date 07/31/2024 by ACMS. [Entered: 07/31/2024 05:26 PM]

     08/01/2024         11             FORM C-A, on behalf of Petitioner Natural Resources Defense Council, Inc., FILED. Service date
                   1 pg. 3339 KB       08/01/2024 by ACMS. [Entered: 08/01/2024 03:02 PM]




https://ca2-showdoc.azurewebsites.us/full-docket/88834c82-be43-ef11-a296-001dd804fa85                                                    3/3
USCA4 Appeal: 24-1650
                Case            Doc: 14        Filed: 08/02/2024        Pg: 47 of 122
Document Accession #:Pending MCP No. 20 Filed
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                     Case:
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                                                  Date:
                                                 DktEntry:
                                                            Filed 08/02/24 Page 5 of 7
                                                           1.1, Page 1 of 1619




                                              Case o. - - -

                                   UNITED STAT ES COURT OF APPEALS
                                          FOR THE SECOND CIRCUIT



                                ATURAL RESOURCES DEF£ SE CO               CIL, INC.,
                                                  Petitioners,

                                                       V.

                            FEDERAL E ERGY REGULATORY COMMISSIO ,
                                                 Respondent.



                                           PETITION FOR REVIEW

                        of a final rule of the Federal Energy Regulatory Commission



         Caroline Reiser                                    Danielle Fidler
         Thomas Zimpleman                                   Earthjustice
         Natural Resources Defense Council                  48 Wall Street, 15th Floor
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         crci~er/Z, nrdc.oru
         tzimpleman(t1nrdc.org                              Alexander Tom
                                                            Earthjustice
                                                            50 California Street, Suite 500
                                                            San Francisco, CA 94 111
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                                                            Counsel for Natural Resources Def ense
                                                            Council
         Dated: July 16, 2024
USCA4 Appeal: 24-1650
                Case         Doc: 14            Filed: 08/02/2024        Pg: 48 of 122
Document Accession #:Pending MCP No. 20 Filed
                      20240719-0003        Document
                                                 Date:
                          Case: 24-1932, 07/16/2024,
                                                      1-707/19/2024
                                                            Filed 08/02/24 Page 6 of 7
                                                     DktEntry:  1.1, Page 2 of 1619




                  PETITION FOR REVIEW OF NATURAL RESOURCES DEFENSE COUNCIL


                    Pursuant to Section 313 of the Federal Power Act, 16 U.S .C. § 825/(b), and Federal Rule

             of Appellate Procedure 15(a), Natural Resources Defense Council (" RDC") hereby petitions

             the Cou11 for judicial review of the following orders issued by the Federal Energy Regulatory

             Commission ("Commission" or "FERC"):


                    I. Building for the Future Through Electric Regional Transmission Planning and Cost

                        Allocation, Order No. 1920, Docket No. RM2 1- 17-000, 187 FERC ,i 61,068 ( May 13,

                        2024) ("Order o. J 920") (Attachment A).

                    2. Notice of Denial ofRehearing by Operation ofLaw & Providing for Further

                        Consideration, Docket o. RM21-l 7-001, 188 FERC ~ 62,025 (July 15, 2024)

                        ("Rehearing Denial    otice") (Attachment B).


                      RDC is a nonprofit environmental organization based in New York and is an active

             participant in the underlying Commission proceeding. On June 12, 2024,       RDC and other P ublic

             Interest Organizations timely sought rehearing and clarification of numerous provisions of Order

             No. 1920's reforms to the mandatory electric transmission planning process in order to ensure

             that transmission providers will appropriately evaluate the benefits of transmission infrastructure

             and select the most efficient proj ects to meet customers' energy needs.


                    In the Rehearing Denial Notice, the Commission stated that the requests for rehearing will

             be addressed in a future order. However, under 16 U.S.C. § 825/(a), "[u]nless the Commission acts

             upon the application for rehearing within thirty days after it is fi led, such appl ication may be

             deemed to have been den ied." The Commission did not issue a substantive order within the thirty-

             day period ending on July 12, 2024. Petitioners' request for rehearing is therefore deemed denied
USCA4 Appeal: 24-1650
                Case            Doc: 14            Filed: 08/02/2024          Pg: 49 of 122
Document Accession #:Pending MCP No. 20 Filed
                      20240719-0003
                     Case:
                                           Document
                           24-1932, 07/16/2024,
                                                     1-707/19/2024
                                                 Date:
                                                DktEntry:
                                                           Filed 08/02/24 Page 7 of 7
                                                          1.1, Page 3 of 1619




         and is ripe for review by this Court. In accordance with 16 U.S.C. § 825/(b), Petitioners' request

         for review is also timely filed prior to sixty days after the denial of rehearing. This Court has

         subject matter jurisdiction and venue is proper under 16 U.S.C. § 825/(b).           umerous public

         utilities that wi ll have to comply with Order No. 1920 are located and have their principal place of

         business within this Circuit, including    ew York Independent System Operator. See 16 U.S.C.

         § 825/(b).

         Dated: July 16, 2024                   Respectfully submitted,

                                               Isl Caroline Reiser
                                               Caroline Reiser
                                               Isl Thomas Zimpleman
                                               Thomas Zimpleman
                                               Natural Resources Defense Council
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                                               Washington, DC 20005
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                                               Isl Danielle Fidler
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                                               Isl Alexander Tom
                                               Alexander Tom
                                               Earthjustice
                                               50 California Street, Suite 500
                                               San Francisco, CA 941 I I
                                               ato111(l1 earthjw,ticc.org

                                               Counsel fo r Natural Resources Defense Council
USCA4 Appeal: 24-1650   Doc:MCP
               Case Pending  14 No. 20Filed: 08/02/2024
                                         Document          Pg:08/02/24
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                           Fourth Circuit 24-1650
USCA4      Appeal: 24-1650
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                                                        24-1650
                                                                   Pg: 51 of 122
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                                                                General Docket
                                              United States Court of Appeals for the Fourth Circuit

  Court of Appeals Docket #: 24-1650                                                                   Docketed: 07/16/2024
  Appalachian Voices v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: fee paid

  Case Type Information:
    1) Agency Review
    2) Petition for Review
    3) null

  Originating Court Information:
     District: FERC-1 : RM21-17-000
     Date Decided:                                                    Date Rec'd COA:
     07/15/2024                                                       07/16/2024
     05/13/2024
       District: FERC-1 : RM21-17-001

  Prior Cases:
     None

  Current Cases:
    None



  APPALACHIAN VOICES                                                     Kimberley Hunter
           Petitioner                                                    Direct: 919-967-1450
                                                                         Email: khunter@selcnc.org
                                                                         [COR NTC Retained]
                                                                         SOUTHERN ENVIRONMENTAL LAW CENTER
                                                                         Suite 220
                                                                         601 West Rosemary Street
                                                                         Chapel Hill, NC 27516-2356

  ENERGY ALABAMA                                                         Kimberley Hunter
           Petitioner                                                    Direct: 919-967-1450
                                                                         [COR NTC Retained]
                                                                         (see above)

  NORTH CAROLINA SUSTAINABLE ENERGY ASSOCIATION                          Kimberley Hunter
           Petitioner                                                    Direct: 919-967-1450
                                                                         [COR NTC Retained]
                                                                         (see above)

  SOUTHERN ALLIANCE FOR CLEAN ENERGY                                     Kimberley Hunter
           Petitioner                                                    Direct: 919-967-1450
                                                                         [COR NTC Retained]
                                                                         (see above)

  SOUTH CAROLINA COASTAL CONSERVATION LEAGUE                             Kimberley Hunter
           Petitioner                                                    Direct: 919-967-1450
                                                                         [COR NTC Retained]
                                                                         (see above)
  v.

  FEDERAL ENERGY REGULATORY COMMISSION                                   Robert Harris Solomon, Solicitor
           Respondent                                                    Direct: 202-502-8257
                                                                         Email: robert.solomon@ferc.gov
                                                                         [NTC Government]
                                                                         FEDERAL ENERGY REGULATORY COMMISSION
                                                                         9A-01
                                                                         888 1st Street, NE
                                                                         Washington, DC 20426-0000



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USCA4      Appeal: 24-1650
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                    Case Pending  14 No. 20Filed: 08/02/2024
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                                                                   Pg: 52 of 122
                                                                Docket 08/02/24 Page 3 of 9


  APPALACHIAN VOICES; ENERGY ALABAMA; NORTH CAROLINA SUSTAINABLE ENERGY ASSOCIATION; SOUTHERN ALLIANCE
  FOR CLEAN ENERGY; SOUTH CAROLINA COASTAL CONSERVATION LEAGUE

                 Petitioners

  v.

  FEDERAL ENERGY REGULATORY COMMISSION

                 Respondent




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USCA4      Appeal: 24-1650
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                    Case Pending  14 No. 20Filed: 08/02/2024
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                                                                   Pg: 53 of 122
                                                                Docket 08/02/24 Page 4 of 9



   07/16/2024         1              Case docketed. Originating case number: RM21-17-000. Case manager: KStump. [1001601865] [24-
                 1 pg, 57.78 KB      1650] KS [Entered: 07/16/2024 02:41 PM]
   07/16/2024         2              Electronic filing fee paid. Filing Fee: $600.00. Receipt Number: B04-75658-897. [1001601870] [24-1650]
                                     KS [Entered: 07/16/2024 02:45 PM]
   07/16/2024         3              Petition for review of agency order filed by Appalachian Voices, Energy Alabama, North Carolina
                 1619 pg, 37.83 MB   Sustainable Energy Association, South Carolina Coastal Conservation League, and Southern Alliance for
                                     Clean Energy . [1001601872] [24-1650] KS [Entered: 07/16/2024 02:47 PM]
   07/16/2024         4              DOCKETING NOTICE issued Re: [3] petition for review. Originating case number: RM21-17-000. Mailed
                 7 pg, 145.71 KB     to: Matthew R. Christiansen, FEDERAL ENERGY REGULATORY COMMISSION, 888 1st Street, NE,
                                     Washington, DC 20426-0000. [1001601874] [24-1650] KS [Entered: 07/16/2024 02:48 PM]
   07/16/2024         5              NOTICE ISSUED serving respondent and requesting record. Date petition for review [3] filed: July 16,
                 1 pg, 116.12 KB     2024. Mailed to: Matthew R. Christiansen and Debbie-Anne A. Reese (Acting Secretary) at FEDERAL
                                     ENERGY REGULATORY COMMISSION, 888 1st Street, NE, Washington, DC 20426-0000. [1001601879]
                                     Administrative Record due 08/26/2024. [24-1650] KS [Entered: 07/16/2024 02:57 PM]
   07/26/2024         6              APPEARANCE OF COUNSEL by Kimberley Hunter for Appalachian Voices, Energy Alabama, North
                 1 pg, 450.52 KB     Carolina Sustainable Energy Association, South Carolina Coastal Conservation League and Southern
                                     Alliance for Clean Energy. [1001607699] [24-1650] Kimberley Hunter [Entered: 07/26/2024 10:16 AM]
   07/26/2024         7              DOCKETING STATEMENT by Appalachian Voices, Energy Alabama, North Carolina Sustainable Energy
                 5 pg, 892.81 KB     Association, South Carolina Coastal Conservation League and Southern Alliance for Clean Energy..
                                     [1001607718] [24-1650] Kimberley Hunter [Entered: 07/26/2024 10:27 AM]
   07/26/2024         8              DISCLOSURE STATEMENT by Appalachian Voices. Was any question on Disclosure Form answered
                 2 pg, 241.41 KB     yes? No [1001607721] [24-1650] Kimberley Hunter [Entered: 07/26/2024 10:28 AM]
   07/26/2024         9              DISCLOSURE STATEMENT by Energy Alabama. Was any question on Disclosure Form answered yes?
                 2 pg, 238.77 KB     No [1001607724] [24-1650] Kimberley Hunter [Entered: 07/26/2024 10:30 AM]
   07/26/2024         10             DISCLOSURE STATEMENT by North Carolina Sustainable Energy Association. Was any question on
                 2 pg, 252.57 KB     Disclosure Form answered yes? No [1001607726] [24-1650] Kimberley Hunter [Entered: 07/26/2024
                                     10:31 AM]
   07/26/2024         11             DISCLOSURE STATEMENT by Southern Alliance for Clean Energy. Was any question on Disclosure
                 2 pg, 247.84 KB     Form answered yes? No [1001607729] [24-1650] Kimberley Hunter [Entered: 07/26/2024 10:32 AM]
   07/26/2024         12             DISCLOSURE STATEMENT by South Carolina Coastal Conservation League. Was any question on
                 2 pg, 254.8 KB      Disclosure Form answered yes? No [1001607732] [24-1650] Kimberley Hunter [Entered: 07/26/2024
                                     10:33 AM]




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                              Description:           Docket Report (filtered)     Search Criteria:   24-1650
                              Billable Pages:        2                            Cost:              0.20




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USCA4 Appeal:
USCA4 Appeal: 24-1650
              24-1650
                Case     Doc: 14
                         Doc: 3-1       Filed:08/02/2024
                                       Filed:  07/16/2024   Pg:55
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Document Accession #:Pending MCP No. 20 Filed
                      20240718-5106     Document  1-8
                                              Date:    Filed 08/02/24
                                                    07/18/2024




                                          No. 24-____


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


            APPALACHIAN VOICES; ENERGY ALABAMA; NORTH CAROLINA
           SUSTAINABLE ENERGY ASSOCIATION; SOUTHERN ALLIANCE FOR
           CLEAN ENERGY; and SOUTH CAROLINA COASTAL CONSERVATION
                                   LEAGUE

                                           Petitioners

                                               v.

                     FEDERAL ENERGY REGULATORY COMMISSION

                                          Respondent



                                    PETITION FOR REVIEW



         KIMBERLEY HUNTER
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         Telephone: (919) 967-1450
         Email: kmeyer@selcnc.org


         Counsel for Appalachian Voices, Energy Alabama, North Carolina Sustainable
         Energy Association, Southern Alliance for Clean Energy, and South Carolina
         Coastal Conservation League
USCA4 Appeal:
USCA4 Appeal: 24-1650
              24-1650
                Case       Doc: 14
                           Doc: 3-1        Filed:08/02/2024
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                                                                     of 7122 Page Total
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Document Accession #:Pending MCP No. 20 Filed
                      20240718-5106     Document  1-8
                                              Date:    Filed 08/02/24
                                                    07/18/2024




               Pursuant to Section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b), and

         Rule 15(a) of the Federal Rules of Appellate Procedure, APPALACHIAN VOICES,

         ENERGY ALABAMA, NORTH CAROLINA SUSTAINABLE ENERGY

         ASSOCIATION, SOUTHERN ALLIANCE FOR CLEAN ENERGY, AND

         SOUTH CAROLINA COASTAL CONSERVATION LEAGUE respectfully

         petition the United States Court of Appeals for the Fourth Circuit for review of the

         following orders issued by the Federal Energy Regulatory Commission

         (“Commission”):

            1. Building for the Future Through Electric Regional Transmission Planning

                and Cost Allocation, Order No. 1920, Docket No. RM21-17-000, 187 FERC

                ¶ 61,068 (May 13, 2024) (“Order No. 1920”) (Exhibit A).

            2. Building for the Future Through Electric Regional Transmission Planning

                and Cost Allocation, Notice of Denial of Rehearing by Operation of Law and

                Providing for Further Consideration, Docket No. RM21-17-001, 188 FERC

                ¶ 62,025 (July 15, 2024) (“Rehearing Denial Notice”) (Exhibit B).

               The Commission issued Order No. 1920 on May 13, 2024. Petitioners timely

         sought rehearing and clarification of Order No. 1920 on June 12, 2024, in accordance

         with Section 313(a) of the Federal Power Act, 16 U.S.C. § 825l(a). The Commission

         issued the Rehearing Denial Notice on July 15, 2024, which did not address the

         merits of Petitioners’ request for rehearing. Pursuant to Section 313(a), Petitioners’
USCA4 Appeal:
USCA4 Appeal: 24-1650
              24-1650
                Case       Doc: 14
                           Doc: 3-1       Filed:08/02/2024
                                         Filed:  07/16/2024   Pg:57
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                                                                    of 7122 Page Total
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Document Accession #:Pending MCP No. 20 Filed
                      20240718-5106     Document  1-8
                                              Date:    Filed 08/02/24
                                                    07/18/2024




         request for rehearing was deemed denied on July 15, 2024. 16 U.S.C. § 825l(a)

         (“Unless the Commission acts upon the application for rehearing within thirty days

         after it is filed, such application may be deemed to have been denied”). Accordingly,

         Petitioners have timely sought review of Order No. 1920 and the Rehearing Denial

         Notice pursuant to Federal Power Act Section 313(b). 16 U.S.C. § 825l(b)

         (permitting an aggrieved party to seek judicial review of a Commission order “within

         sixty days after the order of the Commission upon the application for rehearing.”).

               In accordance with Local Rule 15(b), attached hereto is a list of Respondents

         specifically identifying the Respondents’ names and addresses. Copies of the

         challenged agency orders are attached hereto as Exhibits A and B.

               In accordance with Rule 15(c) of the Federal Rules of Appellate Procedure,

         parties admitted to participate in the underlying agency proceedings have been

         served with a copy of this Petition for Review and are listed in Exhibit C.



         DATED: July 16, 2024

         Respectfully submitted,

         /s/ KIMBERLEY HUNTER
         KIMBERLEY HUNTER
         Southern Environmental Law Center
         601 West Rosemary Street, Suite 220
         Chapel Hill, NC 27516
         Telephone: (919) 967-1450
         Email: kmeyer@selcnc.org
USCA4 Appeal:
USCA4 Appeal: 24-1650
              24-1650
                Case     Doc: 14
                         Doc: 3-1       Filed:08/02/2024
                                       Filed:  07/16/2024   Pg:58
                                                            Pg: 4 of
                                                                  of 7122 Page Total
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Document Accession #:Pending MCP No. 20 Filed
                      20240718-5106     Document  1-8
                                              Date:    Filed 08/02/24
                                                    07/18/2024




         Counsel for Appalachian Voices, Energy Alabama, North Carolina Sustainable
         Energy Association, Southern Alliance for Clean Energy, and South Carolina
         Coastal Conservation League
USCA4 Appeal: 24-1650   Doc:
              Case Pending   14 No. 20Filed:
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                                        Document           Pg:08/02/24
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                             5th Circuit 24-60355
USCA4      Appeal: 24-1650
8/1/24, 3:25 PM
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                   Case Pending   14 No. 20Filed:
                                MCP               08/02/2024
                                             Document    1-9 Filed
                                                        24-60355
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                                                                General Docket
                                               United States Court of Appeals for the Fifth Circuit

  Court of Appeals Docket #: 24-60355                                                                             Docketed: 07/15/2024
  Louisiana Pub Svc Cmsn v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Fee Paid

  Case Type Information:
    1) Agency
    2) Petition for Review
    3)

  Originating Court Information:
     District: FERC-1 : 187 FERC 61,068
     Date Decided:                                                     Date Rec'd COA:
     05/13/2024                                                        07/15/2024

      District: FERC-1 : 188 FERC 62,025
      Date Decided:                                                    Date Rec'd COA:
      07/15/2024                                                       07/15/2024

  Prior Cases:
     None

  Current Cases:
                        Lead                   Member             Start               End
      Related
                        24-60355               24-60362           07/30/2024

  Panel Assignment:         Not available



  Louisiana Public Service Commission                                     Noel Joseph Darce, Esq.
              Petitioner                                                  Direct: 504-593-0831
                                                                          Email: ndarce@stonepigman.com
                                                                          Fax: 504-596-0831
                                                                          [COR LD NTC Retained]
                                                                          Stone Pigman Walther Wittmann, L.L.C.
                                                                          Suite 3150
                                                                          909 Poydras Street
                                                                          New Orleans, LA 70112

                                                                          Dana Marie Shelton, Esq.
                                                                          Direct: 504-593-0816
                                                                          Email: dshelton@stonepigman.com
                                                                          Fax: 504-581-3361
                                                                          [COR NTC Retained]
                                                                          Stone Pigman Walther Wittmann, L.L.C.
                                                                          Suite 3150
                                                                          909 Poydras Street
                                                                          New Orleans, LA 70112

                                                                          Justin A. Swaim, Esq.
                                                                          Direct: 504-593-0979
                                                                          Email: jswaim@stonepigman.com
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                                                                          [COR NTC Retained]
                                                                          Stone Pigman Walther Wittmann, L.L.C.
                                                                          Suite 3150
                                                                          909 Poydras Street
                                                                          New Orleans, LA 70112

  Mississippi Public Service Commission                                   William D. Booth
               Petitioner                                                 Direct: 202-747-9568
                                                                          Email: wdbooth@michaelbest.com
                                                                          [COR LD NTC Retained]
                                                                          Michael Best & Friedrich, L.L.P.
                                                                          Suite 400

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                                                        24-60355
                                                                   Pg: 61 of 122
                                                                 Docket08/02/24 Page 3 of 10
                                                            1000 Maine Avenue, S.W.
                                                            Washington, DC 20004
  v.

  Federal Energy Regulatory Commission                      Robert Harris Solomon, Esq., Solicitor
              Respondent                                    Email: robert.solomon@ferc.gov
                                                            [NTC For Information Only]
                                                            Federal Energy Regulatory Commission
                                                            888 1st Street, N.E.
                                                            Washington, DC 20426




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                                                                   Pg: 62 of 122
                                                                 Docket08/02/24 Page 4 of 10


  Louisiana Public Service Commission; Mississippi Public Service Commission,

                 Petitioners

  v.

  Federal Energy Regulatory Commission,

                 Respondent




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                                                        24-60355
                                                                   Pg: 63 of 122
                                                                 Docket08/02/24 Page 5 of 10



   07/15/2024         1             AGENCY CASE docketed. Petition for review filed by Petitioners Louisiana Public Service Commission
                 1378 pg, 8.32 MB   and Mississippi Public Service Commission. Date received in 5th Circuit: 07/15/2024. Docket Statement
                                    due on 08/14/2024 for Petitioners Louisiana Public Service Commission and Mississippi Public Service
                                    Commission. Administrative Record due on 08/26/2024 [24-60355] (RA) [Entered: 07/15/2024 11:11 AM]
   07/16/2024         4             INITIAL CASE CHECK by Attorney Advisor complete. Action: Case OK to Process. [4] Initial AA Check Due
                                    satisfied. [24-60355] (RA) [Entered: 07/16/2024 09:01 AM]
   07/29/2024         5             APPEARANCE FORM received from Mr. Noel Joseph Darce, Esq. for Louisiana Public Service
                 1 pg, 358.65 KB    Commission and Mississippi Public Service Commission for the court's review. Lead Counsel? Yes. [24-
                                    60355] (Noel Joseph Darce ) [Entered: 07/29/2024 02:20 PM]
   07/29/2024         6             APPEARANCE FORM for the court's review. Lead Counsel? No. [24-60355] (Justin A. Swaim ) [Entered:
                 1 pg, 194.93 KB    07/29/2024 03:12 PM]
   07/29/2024         7             APPEARANCE FORM for the court's review. Lead Counsel? No. [24-60355] (Dana Marie Shelton )
                 1 pg, 194.94 KB    [Entered: 07/29/2024 03:16 PM]
   07/29/2024         8             APPEARANCE FORM for the court's review. Lead Counsel? No. [24-60355] (William D. Booth ) [Entered:
                 1 pg, 157.09 KB    07/29/2024 05:16 PM]
   07/30/2024         11            APPEARANCE FORM FILED by Attorney Noel Joseph Darce for Petitioner Louisiana Public Service
                                    Commission in 24-60355 [24-60355] (MRW) [Entered: 07/30/2024 10:03 AM]
   07/30/2024         13            ATTORNEY NOT PARTICIPATING. Noel J. Darce is designated as inactive in this case. Reason:he does
                                    not represent Mississipi Public Service. [24-60355] (MRW) [Entered: 07/30/2024 10:04 AM]
   07/30/2024         15            APPEARANCE FORM FILED by Attorney(s) Justin A. Swaim for party(s) Petitioner Louisiana Public
                                    Service Commission, in case 24-60355 [24-60355] (MRW) [Entered: 07/30/2024 10:10 AM]
   07/30/2024         17            APPEARANCE FORM FILED by Attorney(s) Dana Marie Shelton for party(s) Petitioner Louisiana Public
                                    Service Commission, in case 24-60355 [24-60355] (MRW) [Entered: 07/30/2024 10:12 AM]
   07/30/2024         19            APPEARANCE FORM FILED by Attorney(s) William D. Booth for party(s) Petitioner Mississippi Public
                                    Service Commission, in case 24-60355 [24-60355] (MRW) [Entered: 07/30/2024 10:14 AM]




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                                   UNITED STATES COURT OF APPEALS                           July 15, 2024
                                        FOR THE FIFTH CIRCUIT                                     F/Fnf ORaJ'1




                 LOUISIANA PUBLIC SERVICE                   )    CASE NO. - - - - - - -
                 COMMISSION,                                )    Federal Energy Regulatory
                                                            )    Commission Order Under Review:
                 MISSISSIPPI PUBLIC SERVICE                 )
                 COMMISSION,                                )
                                                            )
                                          Petitioners,      )
                                                            )
                 VERSUS                                     )    Building for the Future Through Electric
                                                            )    Regional Transmission Planning and
                 FEDERALENERGYREGULATORY                    )    Cost Allocation, Docket No. RM21-17,
                 COMMISSION                                 )    "Order No. 1920," 187 F.E.R.C. ,-r 61,068
                                                            )    (May 13, 2024); Notice of Denial of
                                          Respondent.       )    Rehearing by Operation of Law &
                                                            )    Providing/or Further Consideration, 188
                                                            )    F.E.R.C. ,-r 62,025 (July 15, 2024).



                                       JOINT PETITION FOR REVIEW

                            Pursuant to Section 313(b) of the Federal Power Act, 16 U.S.C.

                § 825l(b), Rule 15(a) of the Federal Rules of Appellate Procedure, and Fifth Circuit

                Rule 15.3, the Louisiana Public Service Commission and Mississippi Public Service

                Commission petition this Court for review of the following orders of the Federal

                Energy Regulatory Commission, copies of which are attached hereto:

                             1.    Building for the Future Through Electric Regional Transmission
                                   Planning and Cost Allocation, "Order No. 1920," 187 F.E.R.C.
                                   ,-i 61,068 (May 13, 2024) [Attachment A].
                            2.     Notice ofDenial ofRehearing by Operation ofLaw & Providing
                                   for Further Consideration, 188 F.E.R.C. ,-i 62,025 (July 15, 2024)
                                    [Attachment B].

                                                                                                    548716lv. l
USCA4 Appeal: 24-1650   Doc: 14 MCP No.
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                                            Document 1-9Pg: 67 of
                                                         Filed    122
                                                               08/02/24 Page 9 of 10
                        Case: 24-60355     Document: 1-2    Page: 2   Date Filed: 07/15/2024




                               The Louisiana Public Service Commission regulates the rates and

                services of public utilities operating in Louisiana. The Mississippi Public Service

                Commission regulates the rates and services of public utilities operating in

                Mississippi.    The Louisiana and Mississippi Public Service Commissions both

                participated in the proceedings below and are aggrieved by the final Federal Energy

                Regulatory Commission's rulings in the subject Orders.




                Kathryn H. Bowman                          Noel J. Darce
                Executive Counsel                          Dana M. Shelton
                Louisiana Public Service Commission        Justin A. Swaim
                Galvez Building - 12th Floor                      Of
                602 N. Fifth Street                         STONE PIGMAN WALTHER WITTMANN
                Baton Rouge, Louisiana 70802                L.L.C.
                Telephone: (225) 342-9888                  909 Poydras Street, Suite 3150
                                                           New Orleans, Louisiana 70112-4042
                                                           Telephone: (504) 581-3200

                                Attorneys for the Louisiana Public Se111ice Commission




                                                                                               5487 16 l v. l
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                                                         Filed of 122   Page 10 of 10
                      Case: 24-60355       Document: 1-2   Page: 3   Date Filed: 07/15/2024




                                                           /s/ William D. Booth
                Ross Hammons, General Counsel              William D. Booth
                Barton Norfleet, Special Counsel;          Alex Peterson
                   Federal Energy Affairs                  Michael Best & Friedrich LLP
                Mississippi Public Service Commission      1000 Maine Avenue, S.W.
                501 N. West Street, Suite 201-A            Suite 400
                P.O. Box 1174                              Washington, D.C. 20024
                Jackson, MS 39215-1174                     Phone: (202) 74 7-9560
                Phone: (601) 961-5821                      wdbooth@michaelbest.com
                Ross.Hammons@psc.ms. gov                   alpeterson@michaelbest.com
                Barton.Norfleet@psc.ms.gov

                               Attorneys for the Mississippi Public Service Commission



               July 15, 2024




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                           Fifth Circuit 24-60362
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                                                        24-60362 Filed 70 of 122 Page 2 of 8

                                                                General Docket
                                               United States Court of Appeals for the Fifth Circuit

  Court of Appeals Docket #: 24-60362                                                                              Docketed: 07/18/2024
  State of Texas v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Fee Paid

  Case Type Information:
    1) Agency
    2) Petition for Review
    3)

  Originating Court Information:
     District: FERC-1 : 187 FERC 61,068
     Date Decided:                                                     Date Rec'd COA:
     06/11/2024                                                        07/16/2024

  Prior Cases:
     None

  Current Cases:
                        Lead                   Member             Start               End
       Related
                        24-60355               24-60362           07/30/2024

  Panel Assignment:         Not available



  State of Texas                                                          William Francis Cole, Esq.
               Petitioner                                                 Direct: 512-936-2725
                                                                          Email: william.cole@oag.texas.gov
                                                                          [NTC Government]
                                                                          Office of the Texas Attorney General
                                                                          Solicitor General Division
                                                                          P.O. Box 12548 (MC-059)
                                                                          Austin, TX 78711-2548
  v.

  Federal Energy Regulatory Commission                                    Robert Harris Solomon, Esq., Solicitor
              Respondent                                                  Email: robert.solomon@ferc.gov
                                                                          [NTC For Information Only]
                                                                          Federal Energy Regulatory Commission
                                                                          888 1st Street, N.E.
                                                                          Washington, DC 20426




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                                                        24-60362 Filed 71 of 122 Page 3 of 8


  State of Texas,

                 Petitioner

  v.

  Federal Energy Regulatory Commission,

                 Respondent




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                                                        24-60362 Filed 72 of 122 Page 4 of 8


   07/18/2024         1            AGENCY CASE docketed. Petition for review filed by Petitioner State of Texas. Date received in 5th Circuit:
                 315 pg, 1.62 MB   07/16/2024. Administrative Record due on 08/27/2024. [24-60362] (RA) [Entered: 07/18/2024 09:11 AM]
   07/19/2024         4            INITIAL CASE CHECK by Attorney Advisor complete. Action: Case OK to Process. [4] Initial AA Check Due
                                   satisfied. [24-60362] (RA) [Entered: 07/19/2024 10:53 AM]




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                                            STATE OF TEXAS,

                                                           Petitioner,
                                                      v.
                        FEDERAL ENERGY REGULATORY COMMISSION,
                                                        Respondent.

                 On Petition for Review of the Federal Energy Regulatory Commission's
                   Docket No. RM21-17-000, "Order No. 1920," 187 FERC <jf 61,068
                        (May 13, 2024); Rehearing Denied by Operation of Law,
                                   188 FERC <jf 62,025 Guly 15, 2024).



                                    PETITION FOR REVIEW

               In accordance with Section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b),

          Federal Rule of Appellate Procedure 15, and Fifth Circuit Rule 15.3, Petitioner the

          State of Texas petitions this Court for review of Respondent Federal Energy Regu-

          latory Commission's final action entitled Buildingfor the Future Through Electric Re-

          gional Transmission Planning and Cost Allocation, 89 Fed. Reg. 49,280 Gune 11, 2024)
          ("Final Rule"). The Final Rule was issued by the Commission on May 13, 2024, and

          Notice of the Final Rule was published in the Federal Register on June 11, 2024, a

          copy of which is attached to this filing in accordance with Fifth Circuit Rule 15.l(b).
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              Jurisdiction and venue lie in this Court under 16 U.S.C. § 825/(b). This petition

         for review is timely filed within 60 days of the Commission's order on Texas's re-

         quest for rehearing in the FERC proceeding in which the Final Rule was issued. Id.

                                                  Respectfully submitted.

          KEN PAXTON                              AARON L. NIELSON
          Attorney General of Texas               Solicitor General

          BRENT WEBSTER                           /s/ William F. Cole
          First Assistant Attorney General        WILLIAM F. COLE
                                                  Deputy Solicitor General
          JAMES R. LLOYD                          William.Cole@oag.texas.gov
          Deputy Attorney General for Civil
          Litigation                              KELLIE E. BILLINGS-RAY
                                                  Chief, Environmental Protection
          Office of the Attorney General
                                                  Division
          P.O. Box 12548 (MC 059)
          Austin, Texas 78711-2548
                                                  JOHN R . HULME
          Tel.: (512) 936-1700
                                                  Special Counsel
          Fax: (512) 474-2697
                                                  Counsel for Petitioner State of Texas




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                            Sixth Circuit 24-3615
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                                                                General Docket
                                               United States Court of Appeals for the Sixth Circuit

  Court of Appeals Docket #: 24-3615                                                                            Docketed: 07/18/2024
  Pub Util of OH Office of the Fed Energy Advocate, et al v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: fee paid

  Case Type Information:
    1) Agency
    2) Review
    3) Other Agency

  Originating Court Information:
     District: FERC-1 : RM21-17-000
     Date Filed: 05/13/2024

  Prior Cases:
     None

  Current Cases:
    None



  PUBLIC UTILITIES COMMISSION OF OHIO'S OFFICE OF THE                    Thomas Elliot Gaiser
  OHIO FEDERAL ENERGY ADVOCATE                                           Direct: 614-466-8980
             Petitioner                                                  [NTC Retained]
                                                                         Office of the Attorney General
                                                                         of Ohio
                                                                         30 E. Broad Street
                                                                         17th Floor
                                                                         Columbus, OH 43215

  PUBLIC SERVICE COMMISSION OF WEST VIRGINIA
            Petitioner
  v.

  FEDERAL ENERGY REGULATORY COMMISSION                                   Robert Harris Solomon
           Respondent                                                    Direct: 202-502-8257
                                                                         [NTC Government]
                                                                         Federal Energy Regulatory Commission
                                                                         9A-01
                                                                         888 First Street, N.E.
                                                                         Washington, DC 20426




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  PUBLIC UTILITIES COMMISSION OF OHIO'S OFFICE OF THE OHIO FEDERAL ENERGY ADVOCATE; PUBLIC SERVICE
  COMMISSION OF WEST VIRGINIA

                 Petitioners

  v.

  FEDERAL ENERGY REGULATORY COMMISSION

                 Respondent




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                                                        1-11 Docket
                                                        24-3615 Filed 80 of 122 Page 4 of 7


   07/18/2024         1            Agency Case Docketed. Notice filed by Petitioners Public Service Commission of West Virginia and Public
                 1371 pg, 6.8 MB   Utilities Commission of Ohio's Office of the Ohio Federal Energy Advocate. Petition Received in 6CA:
                                   07/17/2024. (GSA) [Entered: 07/18/2024 11:30 AM]
   07/18/2024         2            The case manager for this case is: Gretchen Abruzzo (GSA) [Entered: 07/18/2024 11:34 AM]




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 •.   KELLY L. STEPHENS, Clerk
                                     UNITED STATES COURT OF APPEALS

                                            FOR THE SIXTH CIRCUIT


               THE PUBLIC UTILITIES                          )
               COMMISSION OF OHIO'S OFFICE                   )
               OF THE FEDERAL ENERGY                         )
               ADVOCATE;                                     )
                                                             )
               THE PUBLIC SERVICE                            )    Petition for Review
               COMMISSION OF WEST VIRGINIA,                  )    Docket No. - - - - - -
                                                             )
                    Petitioners,                             )    Electronically filed
                                                             )
               V.                                            )
                                                             )
               FEDERAL ENERGY REGULATORY                     )
               COMMISSION,                                   )
                                                             )
                    Respondent.                              )
              - - - - - -- - - - - - -- - )


                    Pursuant to Rule 15(a) of the Federal Rules of Appellate Pr ocedure, and Section

              313(b) of the Federal Power Act, 16 U.S.C. § 825l(b), Petitioners PUBLIC UTILITIES

              COMMISSION OF OHIO'S OFFICE OF THE FEDERAL ENERGY ADVOCATE and

              the PUBLIC SERVICE COMMISSION OF WEST VIRGINIA, through their

              attorneys, hereby petition for review of the actions of the Respondent FEDERAL

              ENERGY REGULATORY COMMISSION ("FERC") in the following orders, copies of

              which are attached:

                    l. Building for the Future Through Electric Regional Transmission Planning and

                       Cost Allocation, Order No. 1920, FERC Docket No. RM21-17-000, 187 FERC ,r

                       61,068 (May 13, 2024).


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USCA4 Appeal: 24-1650    Doc: 14
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           2. Building for the Future Through Electric Regional Transmission Planning and

              Cost Allocation, Notice of Denial of Rehearing by Operation of Law and

              Providing for Further Consideration, FERC Docket No. RM21-l 7-001, 188

              FERC ,r 62,025 (July 15, 2024).

           The Public Utilities Commission of Ohio's Office of the Federal Energy Advocate

        and the Public Service Commission of West Virginia filed a timely request for

        rehearing of the May 13, 2024 Order. The requests for rehearing were denied by

        operation of law on July 15, 2024. This Court has subject matter jurisdiction under

        16 U.S.C. §825l(b).


         Date: July 17, 2024

         DAVE YOST
         Ohio Attorney General

         Is I T. Elliot Gaiser                       Is I J acqueline Lake Roberts (TEG per
         T. ELLIOT GAISER                            authority)
         Solicitor General                           JACQUELINE LAKE ROBERTS*
         MATHURA J. SRIDHARAN                        Federal Policy Advisor
         Deputy Solicitor General                     *Admission forthcoming
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                                                     Counsel for the Public         Service
         Counsel for the Public Utilities            Commission of West Virginia
         Commission of Ohio''s Office of the
         Federal Energy Advocate




                                                 2
USCA4 Appeal: 24-1650   Doc:
              Case Pending   14 No. 20Filed:
                           MCP               08/02/2024
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                                                   1-12 Filed 84 of 122 Page 1 of 9




                         Seventh Circuit 24-2232
USCA4      Appeal: 24-1650
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                   Case Pending   14 No. 20Filed:
                                MCP               08/02/2024
                                             Document             Pg: 08/02/24
                                                        1-12 Docket
                                                        24-2232 Filed 85 of 122 Page 2 of 9

                                                                    General Docket
                                                            Seventh Circuit Court of Appeals

  Court of Appeals Docket #: 24-2232                                                                            Docketed: 07/19/2024
  ITC Midwest LLC v. FERC
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Paid

  Case Type Information:
    1) agency
    2) review
    3) -

  Originating Court Information:
     District: FERC-1 : RM21-17-000

  Prior Cases:
     None

  Current Cases:
    None



  ITC MIDWEST LLC                                                           Aaron M. Streett, Attorney
            Petitioner                                                      Direct: 713-229-1855
                                                                            [COR LD NTC Retained]
                                                                            BAKER BOTTS LLP
                                                                            910 Louisiana Street
                                                                            One Shell Plaza
                                                                            Houston, TX 77002-4995

                                                                            Christopher Beau Carter, Attorney
                                                                            Direct: 713-229-6204
                                                                            [NTC Retained]
                                                                            BAKER BOTTS LLP
                                                                            910 Louisiana Street
                                                                            One Shell Plaza
                                                                            Houston, TX 77002-4995
  v.

  FEDERAL ENERGY REGULATORY COMMISSION                                      Robert H. Solomon, Attorney
           Respondent                                                       Direct: 202-502-8257
                                                                            [COR LD NTC Government Federal]
                                                                            FEDERAL ENERGY REGULATORY COMMISSION
                                                                            9A-01
                                                                            888 First Street N.E.
                                                                            Washington, DC 20426-0000




https://ecf.ca7.uscourts.gov/n/beam/servlet/TransportRoom                                                                          1/4
USCA4      Appeal: 24-1650
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                                                        1-12 Docket
                                                        24-2232 Filed 86 of 122 Page 3 of 9


  ITC MIDWEST LLC,
            Petitioner

  v.

  FEDERAL ENERGY REGULATORY COMMISSION,
           Respondent




https://ecf.ca7.uscourts.gov/n/beam/servlet/TransportRoom                                     2/4
USCA4      Appeal: 24-1650
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                                                        1-12 Docket
                                                        24-2232 Filed 87 of 122 Page 4 of 9


   07/19/2024         1             Petition for Review docketed with proof of service, pursuant to FRAP 15(c). Fee due. Agency record or
                 1372 pg, 5.86 MB   certified list due by 08/28/2024. Fee or IFP forms due on 08/02/2024 for Petitioner ITC Midwest LLC. [1]
                                    [7394671] [24-2232] (AD) [Entered: 07/19/2024 04:51 PM]
   07/22/2024         2             Circuit Rule 26.1 Disclosure Statement and Appearance filed by Attorney Aaron Streett for Petitioner ITC
                 3 pg, 390.08 KB    Midwest LLC. [2] [7394761] (L-Yes; E-Yes; R-No) [24-2232] (Streett, Aaron) [Entered: 07/22/2024 10:45
                                    AM]
   07/22/2024         3             Circuit Rule 26.1 Disclosure Statement and Appearance filed by Attorney Christopher Beau Carter for
                 3 pg, 388.8 KB     Petitioner ITC Midwest LLC. [3] [7394765] (L-No; E-Yes; R-No) [24-2232] [3] [7394765] [24-2232]--[Edited
                                    07/22/2024 by HTP to reflect addition of counsel.] (Carter, Christopher) [Entered: 07/22/2024 10:49 AM]
   07/24/2024         4             Notice of fee payment. Fee Amount: $600.00 Receipt Number: A07-46725-621. [4] [7395366] [24-2232]
                                    (Streett, Aaron) [Entered: 07/24/2024 10:37 AM]




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USCA4      Appeal: 24-1650
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                                             Document             Pg: 08/02/24
                                                        1-12 Docket
                                                        24-2232 Filed 88 of 122 Page 5 of 9

  Clear All

     Documents and Docket Summary
     Documents Only

     Include Page Numbers

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                                                 7th Circuit Court of Appeals - 08/01/2024 14:27:15
                              PACER Login:           us2794ogc                     Client Code:
                              Description:           Docket Report (filtered)      Search Criteria:   24-2232
                              Billable Pages:        1                             Cost:              0.10




https://ecf.ca7.uscourts.gov/n/beam/servlet/TransportRoom                                                       4/4
USCA4 Appeal: 24-1650    Doc: 14
               Case#:Pending MCP No. 20Filed: 08/02/2024
                                         Document   1-12    Pg: 08/02/24
                                                          Filed 89 of 122 Page 6 of 9
Document Accession    20240723-0003      Filed Date:   07/23/2024


                   Case: 24-2232   Document: 1-1       Filed: 07/19/2024      Pages: 1368
                                        SHORT RECORD
                                        Appeal No. 24-2232
                                        Filed 07.19.2024


                                                   INTI-IE

                          mntteb ~tates (!Court of ~ppeals
                              for tbe ~ebentb (!Circuit
                                            ITC MIDWEST LLC,
                                                                      Petitioner,
                                                     V.

                              F EDERAL E NERGY REGULATORY COMMISSION,
                                                                      Respondent.

                          PETITION FOR REVIEW OF ORDERS OF THE
                        FEDERAL ENERGY REGULATORY COMMISSION


                                                          Aaron M. Streett
                                                          Beau Carter
                                                          BAKER BOTTS L.L.P.
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                                          Counsel for ITC Midwest LLC
USCA4 Appeal: 24-1650
               Case#:Pending Doc: 14
                             MCP No. 20         Filed: 08/02/2024
                                                  Document   1-12    Pg: 08/02/24
                                                                   Filed 90 of 122 Page 7 of 9
Document Accession    20240723-0003               Filed Date:   07/23/2024


              Case: 24-2232        Document: 1-1              Filed: 07/19/2024   Pages: 1368



              Under Section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b), and

         Federal Rule of Appellate Procedure 15(a), ITC Midwest LLC petitions this Court

         for review of orders of the Federal Energy Regulatory Commission. Building for

         the Future Through Electric Regional Transmission Planning and Cost Allocation,

         187 F.E.R.C. ,161,068 (May 13, 2024) ("Order No. 1920"); Notice of Denial of

        Rehearing by Operation of Law & Providing for Further Consideration, 188

        F.E.R.C. i162,025 (July 15, 2024). • ITC Midwest participated in the proceedings

        below and is aggrieved by the orders. ITC Midwest respectfully requests that the

        Court modify or set aside the orders in part.

               ITC Midwest is located in Wisconsin. See 16 U.S.C. § 825l(b). Under 16

        U.S.C. § 825l(b) and 18 C.F.R. § 385.2012, ITC Midwest is serving a date-stamped

        copy of this petition on the Office of the Secretary, Federal Energy Regulatory

        Commission, within ten days of the denial of rehearing, pursuant to 28 U.S.C.

        § 2112(a).




              • Copies of the orders are attached to this petition.
USCA4 Appeal: 24-1650     Doc: 14
               Case#:Pending MCP No. 20 Filed: 08/02/2024
                                          Document   1-12    Pg: 08/02/24
                                                           Filed 91 of 122 Page 8 of 9
Document Accession    20240723-0003       Filed Date:   07/23/2024


                    Case: 24-2232   Document: 1-1         Filed: 07/19/2024   Pages: 1368



              July 19, 2024                         Respectfully submitted,

                                                    Isl Aaron M. Streett
                                                    Aaron M. Streett
                                                    Beau Carter
                                                    BAKER BOTTS L.L.P.
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                                                    aaron.streett@bakerbotts.com

                                                    Counsel for ITC Midwest
                                                    LLC
USCA4      Appeal: 24-1650
7/22/24, 1:33 PM
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                   Case Pending   14 No.
                                MCP       20Filed:     08/02/2024
                                                 Document      1-12 Filed  Pg: 08/02/24
                                                                                 92 of 122 Page 9 of 9
                                     wex.e-courier.com/wex/home/wizard_tracking.asp?OrderNumber=3497967




                               Login       Order & Track          Your Account          Forms       Help

    Tracking

    Delivery Times
                          Tracking Details
    Delivery Times            Ordered        Ready              Dispatched          Picked Up   Delivered
                             7/22/2024     7/22/2024             7/22/2024          7/22/2024   7/22/2024
    Filing Guidelines
                          10:51AM EST 10:51AM EST              10:56AM EST        11:07AM EST 1:13PM EST
    Bike Zone Map
                          Shipment Activity
    Linestanding              Event
                            Recorded       Event                                    Note
    Warehousing               Time
                            7/22/2024       Stop
    Helpful Videos                                                           Job: 1 Stop: 2 DS: 1
                           1:13:41 PM   Complete
    Contact Us              7/22/2024   Arrived at            Job: 1 Stop:2 Federal Energy Regulatory
                           1:13:24 PM       Stop                            Commission
                                                           Federal Energy Regulatory Commission, 12225
                            7/22/2024
                                            SupForm             Wilkins Ave, Office Of The Secretary,
                           1:13:23 PM
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                                                           Federal Energy Regulatory Commission, 12225
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                           1:13:23 PM
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                                                           Federal Energy Regulatory Commission, 12225
                            7/22/2024
                                            SupForm         Wilkins Ave, Office Of The Secretary, Special
                           1:13:23 PM
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                            7/22/2024         Order
                                                                                  ETA 1:05
                          12:48:14 PM       Delayed
                            7/22/2024         Stop
                                                                             Job: 1 Stop: 1 DS: 1
                          11:07:22 AM       Complete
                            7/22/2024       Arrived at
                                                                        Job: 1 Stop:1 Baker Botts
                          11:03:48 AM         Stop
                            7/22/2024                    Baker Botts, 700 K St NW, Call 3 Mins ETA
                                            SupForm
                          11:03:47 AM                          Lobby, Electronics-Boxed: n
                            7/22/2024                    Baker Botts, 700 K St NW, Call 3 Mins ETA
                                            SupForm
                          11:03:47 AM                              Lobby, Electronics: y
                            7/22/2024                    Baker Botts, 700 K St NW, Call 3 Mins ETA
                                            SupForm
                          11:03:47 AM                           Lobby, Special Attention: y
                            7/22/2024                  Baker Botts - 700 K St NW - Driver 742 called
                                            PhoneCall
                          11:02:39 AM                        (202) 639-7852 - StopID:7283425
                                                          Our couriers no longer collect physical
                           7/22/2024          Order
                                                      signatures. We can get the recipients name and
                          10:56:14 AM        Update
                                                          email it whenthe delivery is complete.

                          Order Information
                          Order Number                           3497967
                          Ready                                  7/22/2024 10:51AM EST
                          Signed By                              Mlrm
                          POD Time                               7/22/2024 1:13PM
                          Service                                Regular
                          Weight                                 1 lb.
                          Pieces                                 1
                          Delivery City                          Rockville
                          Delivery State                         MD

https://wex.e-courier.com/wex/home/wizard_tracking.asp?OrderNumber=3497967                                  1/2
USCA4 Appeal: 24-1650   Doc:
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                                                   1-13 Filed 93 of 122 Page 1 of 8




                            Ninth Circuit 24-4388
USCA4      Appeal: 24-1650
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                                                        ACMS  Filed 94 of 122 Page 2 of 8


                                                           ACMS Docket Report
                                            United States Court of Appeals for the Ninth Circuit

   Court of Appeals Docket #: 24-4388                                                              Docketed: 07/17/2024
   Sierra Club v. Federal Energy Regulatory Commission
   Appeal From: Federal Energy Regulatory Commission
   Fee Status: Paid

  Case Type Information:
    1) Agency
    2) Non-Immigration Petition for Review
    3)

  Originating Court Information:
     Agency: FERC : RM21-17-000
     Date Rec'd COA: 07/17/2024

     Agency: FERC : RM21-17-001

  Prior Cases:

  Current Cases:

  SIERRA CLUB                                             Justin Vickers
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                                                          Chicago, IL 60660
                                                          Mr. Gregory E. Wannier
                                                          Direct: 415-977-5646
                                                          Email: greg.wannier@sierraclub.org
                                                          [Retained]
                                                          Sierra Club
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                                                          Suite 1300
                                                          Oakland, CA 94612


  FEDERAL ENERGY REGULATORY COMMISSION Mr. Robert Harris Solomon, Solicitor
    Respondent                         Email: robert.solomon@ferc.gov
                                       [Government]
                                       FERC - Federal Energy Regulatory Commission
                                       888 1st Street, NE
                                       Washington, DC 20426




https://ca9-showdoc.azurewebsites.us/full-docket/4ae4ac86-6644-ef11-a296-001dd80ad9d3                                 1/3
USCA4      Appeal: 24-1650
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                                             Document           Pg: 08/02/24
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                                                        ACMS  Filed 95 of 122 Page 3 of 8
  SIERRA CLUB,

                Petitioner,

    v.

  FEDERAL ENERGY REGULATORY COMMISSION,

                Respondent.




https://ca9-showdoc.azurewebsites.us/full-docket/4ae4ac86-6644-ef11-a296-001dd80ad9d3       2/3
USCA4      Appeal: 24-1650
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                                MCP               08/02/2024
                                             Document           Pg: 08/02/24
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                                                        ACMS  Filed 96 of 122 Page 4 of 8

  07/17/2024         1              PETITION FOR REVIEW filed by Petitioner Sierra Club. [Entered: 07/17/2024 01:47 PM]
                98 pg. 12929 KB


  07/17/2024         2              PETITION FOR REVIEW filed by Petitioner Sierra Club. [Entered: 07/17/2024 01:47 PM]
                1444 pg. 11603 KB


  07/17/2024 3                      CASE OPENED. Petition for Review has been received in the Clerk's office of the United States Court of
                                    Appeals for the Ninth Circuit on 7/17/2024.
                                    The U.S. Court of Appeals docket number 24-4388 has been assigned to this case. All communications
                                    with the court must indicate this Court of Appeals docket number. Please carefully review the docket to
                                    ensure the name(s) and contact information are correct. It is your responsibility to alert the court if your
                                    contact information changes.
                                    Resources Available
                                    For more information about case processing and to assist you in preparing your brief, please review the
                                    Case Opening Information (for attorneys and pro se litigants) and review the Appellate Practice Guide.
                                    Counsel should consider contacting the court's Appellate Mentoring Program for help with the brief and
                                    argument. [Entered: 07/17/2024 01:55 PM]
  07/17/2024         4              SCHEDULE NOTICE. Mediation Questionnaire due (Petitioner) 7/22/2024, Petitioner Opening Brief due
                2 pg. 271 KB        (Petitioner) 10/7/2024, Respondent Answering Brief due (Respondent) 11/4/2024. All briefs shall be
                                    served and filed pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

                                    Failure of the petitioner to comply with this briefing schedule will result in automatic dismissal of the
                                    appeal. See 9th Cir. R. 42-1 [Entered: 07/17/2024 01:57 PM]
  07/19/2024         5              MEDIATION QUESTIONNAIRE filed by Petitioner Sierra Club.
                2 pg. 215 KB        To submit pertinent confidential information directly to the Circuit Mediators, please email
                                    ca09_mediation@ca9.uscourts.gov and include the case name and number in the subject line.
                                    Confidential submissions may include any information relevant to mediation of the case and settlement
                                    potential, including, but not limited to, settlement history, ongoing or potential settlement discussions,
                                    non-litigated party related issues, other pending actions, and timing considerations that may impact
                                    mediation efforts. [Entered: 07/19/2024 12:39 PM]




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USCA4 Appeal: 24-1650
               Case#:PendingDoc: 14         Filed: 08/02/2024     Pg: 97 of 122
Document Accession      Case:MCP  No. ,20
                      20240719-0002
                              24-4388       Document  1-13
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                                        07/17/2024,           Filed
                                                         07/22/2024
                                                    DktEntry:       08/02/24
                                                              1.1, Page  1 of 98Page 5 of 8




                                           Case No. 24-- -


                              UNITED STATES COURT OF APPEALS

                                      FOR THE NINTH CIRCUIT




                                          THE SIERRA CLUB,

                                                 Petitioner,

                                                     V.


                        FEDERAL ENERGY REGULATORY COMMISSION,

                                               Respondent.



                                      PETITION FOR REVIEW

                    of a final rule of the Federal Energy Regulatory Commission




                 Isl Justin Vickers                             Isl Gregory E. Wannier
                 Justin Vickers                                 Gregory E. Wannier
                 Senior Attorney                                Senior Attorney
                 Sierra Club                                    Sierra Club
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                 Oakland, CA 94612                              Oakland, CA 94612
                 Telephone: 224.420.0614                        Telephone: 415 .977 .5646
                 justin.vickers@sierraclub.org                  greg.wannier@sierraclub.org

                                                                Counsel for Sierra Club
           Dated: July 17, 2024
USCA4 Appeal: 24-1650
               Case#:Pending     Doc: 14           Filed: 08/02/2024    Pg: 98 of 122
Document Accession      Case:MCP  No. ,20
                      20240719-0002
                              24-4388       Document
                                            Filed Date:
                                        07/17/2024     1-13   Filed
                                                          07/22/2024
                                                   , DktEntry:      08/02/24
                                                               1.1, Page 2 of 98Page 6 of 8




                              IN THE UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

           The Sierra Club                                      )
                 Petitioner,                                    )
                                                                )
                     V.                                         )      No. 24-
                                                                )
           Federal Energy Regulatory Commission,                )
                 Respondent.                                    )


                             PETITION FOR REVIEW OF THE SIERRA CLUB

                    Pursuant to Section 313 of the Federal Power Act ("FP A"), 1 Federal Rule of

           Appellate Procedure 15(a), and Rule 15 of the Circuit Rules of this Court, the

           Sierra Club hereby petitions the Court for judicial review of the following orders

           issued by the Federal Energy Regulatory Commission ("Commission" or "FERC")

           in Docket Nos. RM21 - l 7-000 and RM21-l 7-001:

                     l. Buildingfor the Future Through Electric Regional Transmission
                        Planning and Cost Allocation, Order No. 1920, Docket No. RM21 -l 7-
                        000, 187 FERC if 61,068 (May 13, 2024) ("Order No. 1920") (Exhibit
                        A).

                    2. Buildingfor the Future Through Electric Regional Transmission
                       Planning and Cost Allocation, Notice of Denial of Rehearing by
                       Operation of Law and Providing for Further Consideration, Docket No.
                       RM21 - l 7-000, 188 FERC if 62,025 (July 15, 2024) ("Rehearing Denial
                       Notice") (Exhibit B).




           1
               16 U.S.C. § 824d(g) (2020); id. § 825/(b).



                                                            1
USCA4 Appeal: 24-1650
               Case#:Pending  Doc: 14       Filed: 08/02/2024      Pg: 99 of 122
Document Accession      Case:MCP  No. 20
                      20240719-0002
                              24-4388,    Document   1-13
                                           Filed Date:
                                       07/17/2024,          Filed
                                                        07/22/2024
                                                   DktEntry:      08/02/24
                                                             1.1, Page 3 of 98Page 7 of 8




                 The Sierra Club is a nonprofit environmental organization and active

          participant in the underlying Commission proceeding. On June 12, 2024, the Sierra

          Club timely sought rehearing and clarification of numerous provisions of Order

          No. l 920's reforms to the mandatory electric transmission planning process in

          order to ensure that transmission providers will appropriately evaluate the benefits

          of transmission infrastructure and select the most efficient projects to meet

          customers' energy needs (Exhibit C).

                 In the Rehearing Denial Notice, the Commission stated that the requests for

           rehearing will be addressed in a future order. Ex. B at l. However, under 16.

          U.S.C. § 825/(a),

                 [u]nless the Commission acts upon the application for rehearing within thirty
                 days after it is filed, such application may be deemed to have been denied.

          The Commission lacks the authority to issue tolling orders:

                 for the sole purposes of preventing rehearing from being deemed denied by
                 its inaction and statutory right to judicial review attaching.

          Allegheny Def Project v. FERC, 964 F.3d 1, 11 (D.C. Cir. 2020) (en bane). The

           Commission did not issue a substantive order within the thirty-day period ending

           on Ju ly 12, 2012. Petitioners' request for rehearing is therefore deemed denied and

           is ripe for review by this Court. In accordance with 16 U.S.C. § 825/(b ),

          Petitioners' request for review is also timely filed prior to sixty days after the

          denial of rehearing. This Court has subject matter jurisdiction and venue is proper




                                                     2
USCA4 Appeal: 24-1650
               Case#:Pending Doc: 14          Filed: 08/02/2024     Pg: 100 of 122
Document Accession      CaseMCP
                      20240719-0002No. 20
                             : 24-4388,     Document  1-13
                                            Filed Date:
                                        07/17/2024,          Filed
                                                         07/22/2024
                                                    DktEntry:      08/02/24
                                                              1.1, Page 4 of 98Page 8 of 8




           under FPA Section 3 l 3(b) because of the numerous public utilities that will have to

           comply with Order No. 1920 and are headquartered and have their principal place

           of business within this Circuit.



           Respectfully submitted,


                 Isl Justin Vickers                               Isl Gregory E. Wannier
                 Justin Vickers                                   Gregory E. Wannier
                 Senior Attorney                                  Senior Attorney
                 Sierra Club                                      Sierra Club
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                 Oakland, CA 94612                                Oakland, CA 94612
                 Telephone: 224.420.0614                          Telephone: 415 .977 .5646
                 justin.vickers@sierraclub.org                    greg.wannier@sierraclub.org

           Date: July 17, 2024




                                                      3
USCA4 Appeal: 24-1650   Doc:
              Case Pending   14 No. 20Filed:
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                       Eleventh Circuit 24-12310
USCA4      Appeal: 24-1650
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                                             Document              Pg: 08/02/24
                                                         1-14 Docket
                                                        24-12310 Filed 102 of 122Page 2 of 8

                                                               General Docket
                                            United States Court of Appeals for the Eleventh Circuit

  Court of Appeals Docket #: 24-12310                                                                          Docketed: 07/18/2024
  State of Georgia, et al v. Federal Energy Regulatory Commission
  Appeal From: Federal Energy Regulatory Commission
  Fee Status: Fee Paid

  Case Type Information:
    1) Agency
    2) Agency Petition for Review
    3) -

  Originating Court Information:
     District: FERC-0 : RM-21-17-000

  Prior Cases:
     None

  Current Cases:
    None



  STATE OF GEORGIA                                                      Stephen John Petrany
                                                         Petitioner     [COR LD NTC Government]
                                                                        Georgia Department of Law
                                                                        Attorney General's Office
                                                                        Firm: 404-656-3300
                                                                        40 CAPITOL SQUARE SW
                                                                        ATLANTA, GA 30334

                                                                        Christopher Michael Carr
                                                                        [NTC Government]
                                                                        Georgia Department of Law
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                                                                        (see above)

                                                                        Christopher Michael Carr
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                                                                        (see above)

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                                                                        (see above)
  versus

  FEDERAL ENERGY REGULATORY COMMISSION                                  Federal Energy Regulatory Commission
                                     Respondent                         [NTC U.S. Government]
                                                                        Federal Energy Regulatory Commission
                                                                        Firm: 202-502-6600
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  STATE OF GEORGIA,
  THE GEORGIA PUBLIC SERVICE COMMISSION,

                                                         Petitioners,

  versus

  FEDERAL ENERGY REGULATORY COMMISSION,

                                                         Respondent.




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   07/18/2024         1             AGENCY PETITION / APPLICATION DOCKETED. Filed by Petitioners State of Georgia and The Georgia
                 1645 pg, 6.83 MB   Public Service Commission. Fee Status: Fee Paid. [Entered: 07/18/2024 10:31 AM]
   07/19/2024         2             APPEARANCE of Counsel Form filed by Stephen John Petrany for State of Georgia and The Georgia
                 1 pg, 127.49 KB    Public Service Commission. Related cases? No. [24-12310] (ECF: Stephen Petrany) [Entered: 07/19/2024
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   07/19/2024         3             APPEARANCE of Counsel Form filed by Justin T. Golart for State of Georgia and The Georgia Public
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                   IN THE UNITED STATES COURT OF APPEALS
                          FOR THE ELEVENTH CIRCUIT

         STATE OF GEORGIA, GEORGIA
         PUBLIC SERVICE COMMISSION

               Petitioners,


                                                                 No. _______
         FEDERAL ENERGY REGULATORY
         COMMISSION,




                   PETITION FOR REVIEW OF AGENCY ACTION
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                                   PETITION FOR REVIEW

               Pursuant to Section 313(b) of the Federal Power Act, 16 U.S.C.

         § 825l(b), and Federal Rule of Appellate Procedure Rule 15(a), the State

         of Georgia and Georgia Public Service Commission hereby petition this

         Court for review of the following order of the Federal Energy

         Regulatory Commission:

            1. Order No. 1920, Final Rule, Building for the Future
               Through Electric Regional Transmission Planning and
               Cost Allocation, Docket No. RM21-17-000, 187 FERC ¶
               61,068 (May 13, 2024).

            2. Notice of Denial of Rehearing by Operation of Law &
               Providing for Further Consideration, Docket No. RM21-17-
               001, 188 FERC ¶ 62,025 (July 15, 2024).

               Both petitioners were intervenors in the Commission proceedings

         and timely filed a request for rehearing of the order. This request was

         denied by operation of law pursuant to 15 U.S.C. § 717r(a) because the

         Commission did not act on the request within 30 days. The order and

         notice of denial of rehearing by operation of law are attached as

         Exhibits A and B, respectively.

               The jurisdiction and venue of this Court is established by Section

         313(b) of the Federal Power Act, 16 U.S.C. § 825l(b). This Court should

         grant the petition because the Commission’s order and notice are




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         arbitrary, capricious, and not in accordance with law.

               This 18th day of July, 2024.
                                                    Respectfully submitted.

                                                    /s/ Justin T. Golart
                                                    Christopher M. Carr
                                                      Attorney General of Georgia
                                                    Stephen J. Petrany
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                                                2
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                                ATTACHMENT 4
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         Building for the Future Through Electric Regional Transmission
         Planning and Cost Allocation, FERC Docket No. RM21-17

            • Order No. 1920—Final Rule, 187 FERC ¶ 61,068 (May 13, 2024)
              (excerpt)

            • Notice of Denial of Rehearing by Operation of Law and Providing
              for Further Consideration, 188 FERC ¶ 62,025 (July 15, 2024)
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                                     187 FERC ¶ 61,068
                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION

                                               18 CFR Part 35

                               [Docket No. RM21-17-000; Order No. 1920]

                                Building for the Future Through Electric
                           Regional Transmission Planning and Cost Allocation

                                           (Issued May 13, 2024)

        AGENCY: Federal Energy Regulatory Commission.

        ACTION: Final rule.

        SUMMARY: The Federal Energy Regulatory Commission (Commission) revises the

        pro forma Open Access Transmission Tariff (OATT) to remedy deficiencies in the

        Commission’s existing regional and local transmission planning and cost allocation

        requirements. In this final rule, the Commission requires transmission providers to

        conduct Long-Term Regional Transmission Planning that will ensure the identification,

        evaluation, and selection, as well as the allocation of the costs, of more efficient or cost-

        effective regional transmission solutions to address Long-Term Transmission Needs.

        The Commission also directs other reforms to improve coordination of regional

        transmission planning and generator interconnection processes, require consideration of

        certain alternative transmission technologies in regional transmission planning processes,

        and improve transparency of local transmission planning processes and coordination

        between regional and local transmission planning processes. These reforms are intended

        to ensure that existing regional and local transmission planning and cost allocation
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        Docket No. RM21-17-000
                                                                                              ii


        requirements are just, reasonable, and not unduly discriminatory or preferential.

        EFFECTIVE DATE: This final rule will become effective [INSERT DATE 60 DAYS

        AFTER DATE OF PUBLICATION IN THE FEDERAL REGISTER]

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        SUPPLEMENTARY INFORMATION:
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                                           187 FERC ¶ 61,068
                                      UNITED STATES OF AMERICA
                               FEDERAL ENERGY REGULATORY COMMISSION

        Before Commissioners: Willie L. Phillips, Chairman;
                              Allison Clements and Mark C. Christie.

         Building for the Future Through Electric Regional                               Docket No.           RM21-17-000
         Transmission Planning and Cost Allocation


                                                          ORDER NO. 1920

                                                             FINAL RULE

                                                       (Issued May 13, 2024)

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        I.        Introduction and Background

                  In this final rule, the Commission acts under section 206 of the Federal Power Act

        (FPA) to adopt reforms to its electric transmission planning and cost allocation

        requirements.1 The reforms herein will remedy deficiencies in the Commission’s existing

        regional and local transmission planning and cost allocation requirements to ensure that

        the rates, terms, and conditions for transmission service provided by public utility

        transmission providers (transmission providers)2 remain just and reasonable and not



                  1
                      16 U.S.C. 824e.
                  2
                 Section 201(e) of the FPA, 16 U.S.C. 824(e), defines “public utility” to mean
        “any person who owns or operates facilities subject to the jurisdiction of the Commission
        under this subchapter.” As stated in the Order No. 888 pro forma Open Access
        Transmission Tariff (OATT), “transmission provider” is a “public utility (or its
        Designated Agent) that owns, controls, or operates facilities used for the transmission of
        electric energy in interstate commerce and provides transmission service under the
        Tariff.” Promoting Wholesale Competition Through Open Access Non-Discriminatory
        Transmission Servs. by Pub. Utils.; Recovery of Stranded Costs by Pub. Utils. &
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                                     188 FERC ¶ 62,025
                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION

        Building for the Future Through Electric                     Docket No. RM21-17-001
        Regional Transmission Planning and Cost Allocation

              NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                       PROVIDING FOR FURTHER CONSIDERATION

                                              (July 15, 2024)

               Rehearing has been timely requested of the Commission’s order issued on
        May 13, 2024, in this proceeding. Bldg. for the Future Through Elec. Reg’l
        Transmission Planning & Cost Allocation, 187 FERC ¶ 61,068 (2024). In the absence of
        Commission action on a request for rehearing within 30 days from the date it is filed, the
        request for rehearing may be deemed to have been denied. 16 U.S.C. § 825l(a);
        18 C.F.R. § 385.713 (2023); Allegheny Def. Project v. FERC, 964 F.3d 1
        (D.C. Cir. 2020) (en banc).

               As provided in 16 U.S.C. § 825l(a), the requests for rehearing of the above-cited
        order filed in this proceeding will be addressed in a future order to be issued consistent
        with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
        Commission may modify or set aside its above-cited order, in whole or in part, in such
        manner as it shall deem proper.



                                                       Debbie-Anne A. Reese,
                                                         Acting Secretary.
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                             CERTIFICATE OF SERVICE

              I hereby certify that, on August 2, 2024, a copy of the foregoing

        was filed electronically. Notice of this filing will be sent to all parties

        via the Court’s electronic filing system.



                                                          /s/ Susanna Y. Chu
                                                          Susanna Y. Chu
                                                          Attorney
